Case 1:15-cv-00949-SCJ Document 118 Filed 10/31/17 Page 1 of 69

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF GEORGIA

ATLANTA DIVISION
ACE PROPERTY AND CASUALTY _ )
INSURANCE COMPANY, )
)
Plaintiff, )
) CIVIL ACTION FILE
VS. )
) NO. 1:15-CV-0949-WBH
LIBERTY SURPLUS INSURANCE _ )
CORPORATION; ez. al., )
)
Defendants. )

NOTICE OF FILING

 

Defendant American Guarantee & Liability Company files with the Court
the following documents in connection with its Motions for Summary Judgment
filed against Liberty Surplus Insurance Corporation and ACE Property and
Casualty Insurance Company.

(1) July 24, 2014 report (Exhibit “20” to depositions, Liberty001256-
001261);

(2) October -November, 2014 “group” emails (Exhibit 56 to depositions,
Liberty001277-80);

(3) ACE claim notes (Exhibit 67 to depositions, CH2556-2580);

(4) Liberty claim notes (Exhibit 44 to depositions, Liberty000925-95 1);
Case 1:15-cv-00949-SCJ Document 118 Filed 10/31/17 Page 2 of 69

(5)
(6)

This 31% day of October, 2017.

Swift, Currie, McGhee & Hiers, LLP
1355 Peachtree St. N.E., Suite 300
Atlanta, Georgia 30309

(404) 874-8800

[2]

January 15, 2015 email (Exhibit 61 to deposition, Liberty 001416; and

January 19, 2015 emails (CH0279-280).

Respectfully submitted,

/s/ Melissa K. Kahren

Stephen M. Schatz

Georgia Bar No. 628840
Steve.Schatz@swiftcurrie.com
Thomas B. Ward

Georgia Bar No. 153081

Tom. Ward@swiftcurrie.com
Melissa K. Kahren

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Attorneys for American Guarantee

 

 
Case 1:15-cv-00949-SCJ Document 118 Filed 10/31/17 Page 3 of 69

iS WEINBERG WHEELER
HUDGINS GUNN & DIAL
Christopher T. Byrd

chyrd@vewhgd, con
Ofrect 404,832.9546

hewn y Wa aang wav. WWHGD, com

 

 

July 24, 2014

VIA ELECTRONIC MAIL DELIVERY

Ms. Michele M. Simpson, CPCU Mr, Darin Collier

Claims Manager WSE, LLC

US Casualty Claims 5909 Peachtrce Dunwoody Rd., Ste, 400
Liberly International Underwriters Atlanta, GA 30328

55 Water Street, 18th Floor
New York, NY 10041

Ms: Faye J. Wall, CPA, CCIM Mr, Joe Cahill

Chiel Financial Officer Aslan Commons, LLC
The Worthing Companies 20 Pacifica, Suite 450
5909 Peachtree Dunwoody Rd., Suile 400 Irvine, CA 92618
Atlanla, GA 30328

Ms. Miriam Mosseri Michael H. Schroder, Esq.
ACE Group Swift Cusrie

Post Office Box 5119 1355 Peachiree Sireet, NE
Scranton, PA 18505-0549 Suite 300

Auanta, GA 30309

Jack “Tre” Horton T1, J.D.

Claims Specialis! Assistant Vice President
Corporate Solutions Departments

Swiss Reinstirance America Holding Corp
PO Box 2991

Overland Park, KS 66201-2991

Re: Stephen D. Welly v, Astan Commons, LLC, et al.
Civil Action File No. 12EV014728/", Stale Court of Fulton County
Claim No,; S5SCAS0015248]
D/l.: 05-31-2010

Dear All:

The purpose of this correspondence is lo provide you with an updated status/issue repor!
on the above referenced case. As you are aware, dispositive motions have been heard (both
Plainiiif's and Detendants’ motions were denied). Thus, there is nothing standing in the way of
atrial setting, and, while thal has yet lo happen, | anticipate this matter will appear on a summer
or carly fall trial calendar. I would suggest thal, once everyone hing had an opportunity (o review
this correspondence, we conduct 1 conference call to fully discuss the trial strategy.

 

LIBERTY 001256

CONFIDENTIAL
Case 1:15-cv-00949-SCJ Document 118 Filed 10/31/17 Page 4 of 69

WEINBERG WHEELER
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July 24, 2014
Page 2

 

I Liability.

We think It is inevilable that some amount of Jiabilily will be found against the properly
manauer, WSE, The unavoidable facts of the case are that (1) the applicable code required that
the gas line be fitted with # cay. (2) this gas line had no such cap, and (3) if the gas line had such
a cap, the explosion would nat have occurred. [1 will be difficult, if not impossible, to convince
the jury that the apartment management company did not have a duly to abide by the applicable
fire code. Once a duly is found to exist, Plaintiff will easily be able to establish breach and
damapes.

Our defense, os far as liability is concerned, is two-fold. First, we will allempt to
convince the jury that WSE acted reasomubly, despite the shsence of the cap. We will offer
evidence thal! WSE retaincd qualified building inspectors to inspect 20% of ily apartments every
year (whieh is required per cily ordinance), Those inspectors never informed WSE that any of
ils Hines were uncapped or that caps were reqttived by the code. This evidence will not remove
WSE's obligation to mect the code requirement, Rather, we are hopeful that this sort of
testimony will tke any “heat? oul of the case and keep the Jury from getling upset at the
defendants. !

Second, we will altempt (o convinces (he Jury (hal {he gas was actually “turned on” by the
Plaindif himself! As you are aware, there is no direct evidence of this faci. Rather, Plaintiffs
changing story suggests (hut he is being dishonest about his actions on the day of the explosion,
For example, Plaintiff told first responders that he “tried to light the water heater’, Plaintil
never mentioned the “aiystery repairman” to investigators, family members or even in bis
Complaint, [was not until Plaintifl’'s deposition that any reference was made to some slranger
being Jef alone in Plaintiff's spariment,

It is our hope that this strategy will resull in the jury allotting some of the full to
Plainul?, OF course it ig difficult lo predict the percentage of fault that the jury will ultimately
assign, and, as noted below, Plainti(?’s current mental state may make the jury more reluctant lo
blame him. If Plaintif is apportioned fault in (he amount of 50% or grealer, he cannol recover.
We think apportionment to the Plaintiff in thal amount is extremely unlikely, but there is a Fair
chance thac Plaintif? wil] share some Faull.

 

' WSE's maintenance manuger testified [hat he understoad the cups to be suleiy devices and, had he noticed any
missing, would have been sure ta lave them veplueed, “Thus, Platnu ff will argue that a reasonable property owner,
armed with such knowledge, would hive been sure to inspect for missing caps (regardless of whether ihuy were a
code violation ov nat).

 

£ Pininedt will contend that this “mystery repairman” is, jn frei, WSE eniphiyee, Johuny Orr, To support this
assertion, Flint’ will point te the fine) (hat My, Orv pulled the keys to Plaiui(l's apuriment bo days prior to the
esplasion, sinasan “emeneney work dor ia Hi place difcetion hiny to repr the dpsdcement's (VAC und. Mr,
Ce had dese keys io his pricesay iitif alien rhe exphidow accuneld pwhich ia wibhiian of WSE Key contol
policy. amd he was warkiwe diy digs before dnd the ahi al the espacio While Mr Orr denies Lie sel tout tt
Plains unit, he dogs ane necalleet why le pulled the keys or his plow to adilress ile wark order, On ihe other
hand, the physical description Plaiil!T gave af ihe "mystery reparoman" at his depasition looks nothing like Mr. Orr.

    

 

 

LIBERTY 001257

CONFIDENTIAL
Case 1:15-cv-00949-SCJ Document 118 Filed 10/31/17 Page 5 of 69

WEINBERG WHEELER
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July 24, 2014
Page 3

 

fh. Damages.

A agi wes! = We show (hat Plaintiff has incurred
kpproximately $225.0 000 in n pal medical Sepa, As for future treatment, we are aware of
none, It is possible that Plointiff will claim that he needs to see o voice therapist, but he has
made no efforts lo seck such treatment since the months immediately following the explosion,
PlaintilT continues to treat with menta) health professionals, bul, for the reasons sel forth below,
we linve nol factored those potential bills into our analysis.

 

B. Pain and Sullecing: Past and future pain and suffering are compensable, and this
form of damages is Jef to the “enlightened consciousness” of the jury. The good news is that
Wells’ physical injuries have essentially healed (wilh the exception of those addressed below).
His chief comploiis at this point are that his skin “does not Fil” und that he gels Ured more
eosily, However, these conditions da not seem particularly painful, and he is no longer going
through any sort of burn treatment. Plaintilfs past pain and suffering is a dilYerent story.
Plaingit has pradticed a video depicting the treatment he received as a resull of his burns. It is
quile graphic and will make a strong impression of how painful Plaintiffs injuries were in the
weeks fotlowing the explosion.

c. Poysieat Injuries: Other than his more generalized complaints of letharpy,
Plaintiif claims that he las {asting physical injuries in the form of scarring, ercetile dysfunction
and permanently damaged vocal chords. Physical injunies are compensable; and these will likely
faclor inlo Plaintiff’s presentation to the jury.

Repurding scarring, Plainif! docs have visible scars on his forearms and calves.
However, the searring is not that pronounced. His Iorearms, lor example, slow the “wattle”
pattern of the skin gratis, but, other than tiat, are not very remarkable. Though he has clnimed ta
have sulTered scarring on his face, ears and neck, | have not seen any such scarring, and 7 haye
spent a considerable amount of time in his presence (durivg the depositions and at mediation).

We are moving (o prohibit any mention of Plaintiff's alleged erectile dysfunction, as we
believe thal there must be causation evidence, in the farm of expert lestimony, to supporl any
such claim, Thus far, Phiintiff bas not identifietl any such expert, and his own medical records
indicate that his condition is caused by Peyronio’y Disease. ‘These same records demonstrate that
the etiology of Peyronie's Disease is unknown, We feel Shirly confident that Plaintifl’s claim of
erectile dysfunction will be prohibited, barring some lalte-identified expert on PlaintifPs part.

As for PlaintifPs claim regarding his vaeal chords, Plaintiff will produce a voice
therapist, Joannie Dollar, to lestify that Plaintiff! hes lost a significant portion of his vocal range.
Ms. Dollar will oping thal, due 10 Plointiff's scurred vocal chords, he will be unable to speak as
he once did. Primarily, this means that Plaintiff cannot speak as loudly or as long as he did prior
to the explosion. At the time Ms, Dollar testified, Paintil? was employed as a teacher, and she
slated that Plainti!?'s position would lead to voice fatigue (since he was constantly liking to his

 

LIBERTY 001258

CONFIDENTIAL
Case 1:15-cv-00949-SCJ Document 118 Filed 10/31/17 Page 6 of 69

WEINBERG WHEELER
HUDGINS GUNN & DIAL

duly 24, 2014
Page 4

 

students). Her opinion may not be as relevant to Plainti?s new position as a menial laborer,
We will move to exclude Ms, Dollar's opinions, on the grounds thal she is nol a physician and
should nol be permitted to oping regarding the etiology, severity or duration of an injury.
However, there ts a fair chance said motion will be denied.

D. Psyshvlovical Injuries: Plaintiff is claiming to have suffered all sorts of
cynotional injuries as a result of the explosion. Wells testified that he has been diagnosed with
PTSD, depression and anxiety, all slemming [rom the incident, Ag previously reported, Wells
has a long history ol at least two of these condilions — PTSD und depression - which he has dealt
with for years. We are challenging Plaintifls emotional injury claims via motion in limine for
various reasons. Most notably, Plain! has failed to produce any medical records related to his
diagnosis ond trentment and has Jailed to identify uny expert to opine thal his current emotional
stale is causally linked to the explosion. Indeed, Plaintiff has objected to our procuring said
medical records.

We feel very optimistic that Plaintiff will be precluded Irom testifying that he sullers
Irom any diagnosoble mental candition, Ultimately, however, Plaintil? will be able to testify
regarding his own emotional stile. Thus, he will be permitted to explain that he is withdrawn,
lethargic, run-down, anxious, stressed out, ele, This will become part of PlaintifPs overall claim
of pain and suffering.

Along these lines | would also note thal, at his most recent deposition, Plaintiff did seem
very emotionally fragile. | did not get the sense that he was faking his emotional state, Tle
seemed lo be “hunging by a thread”, appearing extremely unxiays, nervous and sad, This was
very different than his demeanor at his first deposilion and ul mediation. Should he present the
same al trial, ] do not think the jury will have trouble believing this man sulfers fram -various
emotional symptoms, regardless of whether or not he is permitted to testify regarding a
psychiatrist's diagnosis.

E. Lost logume; As you will rceall, Plaintiff claimed (in his written demand and in
discovery responses) lo have lost income as o resull of the explosion, |owever, afier deposing
his boss, we Jeamed thal he was a salaried employee who was never docked any pay for missing
work following the explosion. Also, after a couple of months, Plaintiff had returned to working
full time al his job as a tencher/IT technician al a local, private school. Thus, Plaintiff's lost
income claim did nol seriously factor into our evaluation of the cuse.

Recently, Plaintif’ has made an attempt to revilalize his lost income claim aller he
voluntarily quit his school position at the end af fast year, Wells will allege that he has lost
carning capacity in that he is now unable to do the sort of work he did prior to the explosion.
Essentially, Wells claims that ihe stresses of his position wt McGinnis/Woods Country School
became too much for him to handle, He statect that, immediately aller Uie explosion and for
some time afier, he was focused on physical recovery - gelling over his burns, regaining stamina,
ele. Alter hat, Wells claims (hat he began to nolice inercased anxicty, While be adotits to
having long suffered fram PTSD and depression, the anxiety was new. Fe could nat complete

 

LIBERTY 001259

CONFIDENTIAL
Case 1:15-cv-00949-SCJ Document 118 Filed 10/31/17 Page 7 of 69

WEINBERG WHEELER
HUDGINS GUNN & DIAL

July 24, 2014
Page 5

 

his wsks at work, and the thought of having people depend on him caused Wemendous stress,
Wells testified that all he wanted tv do was hide and he became agoraphobic. On the advice ofa
psychiatrisl, he enrolled jn intensive therapy. Since the therapy took place several times a week,
he took medi¢al leave fiom his job and eventually resigned allogether.

After several months ol therapy, Wells concluded that he was able to re-enter the
workforce. However, he did not want lo return to the school, Wells states thal he docs not think
he will ever be cut oul for that sort of employment again. He claims that he would still be ill
equipped to handle the stress of a teaching position. Ie now works in the garden/Jandscape
center at Lowes, where he loads customers’ cars and trucks, The position is full time, but most
likely seasonal, Wells claims that has been tald there is u slight possibility that he would be kept
on afer the summer, but itis nol likely.

The obvious irony in nll this is that Wells’ current job [s quite physival. Le is on his feet
and carrying lieavy ilems. This would seem to be the sort of aclivily that Wells previously
leslifiedl he was unable to perform. Recall, during his first deposition, Wells claimed thal he was
fatigued all the time and lacked the stamina he had priog to the explasion.

We have moved lo prohibit Plaintiff rom making his lost carning capacity claim, based
on the lack of evidence of any permanent injury. ‘To summarize our position, Wells has
presenied no evidence, that he has saflered any permanent emotional injury which would cause
him 10 be unable to achieve the sane level of employment he.peviously held, As noted above,
liawever, the PlaintiiT will be able to testify about his own cmotional slate (in a non-expert
fashion). I is likely Uhat the judge will determine that such testimony is a sufficient foundation
on which to base a claim of lost earning capacity. Thus, we expect the Plaintiff to be able 10
present some form of a lost earning capacity claim.

We would also nole thet, aller deposing Mr. Wells, we contacted his former boss, the
plineipal at the school where he was eniployed. She informed us that she wos quite shocked nt
his resignation and that there wax ho indication, priar to his deparlure, that he was unable to mee
his job requirements. Welve also interviewed one of Mr. Wells’ coworkers, who told us the
sume thing. We are atienipting jo ger affidavits fron these individuals lo help us “lock in” their
tedimovy should we call them at trial, While their anticipated testimony in this vegard is very
fiverable, My. Wells’ former co-workers are likely sympathetic to hint ind may try hard to put a
helpful spin on their side of the story,

Plaindff has not identified an expert economist, Thus, we anticipate that the lost wages
claim presented lo the jury will be quite simple. Plainti!l will likely explain what Wells made at
ihe school and what he is making now and let the jury do the math. This discrepancy, however,
is nol tremendously large. In the last 3 years of his employment at the school, Wells?’ gross pay
was right around $39,000. Wells lestified thal, at Lowes, he makes $10.58 an hour. Annualizing
this amount comes to $22,006.40 — a deficit of around $17,000.00 a year, Plaintiff has also lost
the benefits that his other position provided, but, without an economisl, it is unclear as 10 how
Plaintiff will present the benefits as a portion of his lost income claim.

 

LIBERTY 001260

CONFIDENTIAL
Case 1:15-cv-00949-SCJ Document 118 Filed 10/31/17 Page 8 of 69

 

 

H WEINBERG WHEELER
HUDGINS GUNN & DIAL
July 24, 2014

Page 6

MainiT is currently 57, We anticipate (hat Phiintitt will testily Uhat he plans ta weak at
lenst lo the “typical” age of retirement, whieh ts 65 ar even 67 yours Old. “Thus, roughly
spenking, Plaintifl will ask the jury lor « minimem $170,000 in lost coening capacity Gre
probubly closer to $200,000, factoring ih some alysis oF beaefiis), ‘This pumber will likely
increase dramatically, if PlantifY argues (hat Wells” current position is seasonal und hig proypeets
Jor [ture wark spony.

Fy, Purtlive Diaroanes and Attorney's Pees: Plointiils eluiny for punitive damapes
and “bad faith” attomey’s fees survived summary Judgment. Mowever, we still do pot factor
theny asa substi thredl ih this case. At ihe summitry judpment hearing, the judge noted that
Pluintil woul! have to come forward with move evidence than he has presented thus tay for hin
to suivive ft directed verdict motion at iial, Thy judge's decision to keep the claims in the case
Appews lo be bayed upon Plaintiffs lawyer's concession that he would not mention punitive
damages a opening ar in his case in clicl,

WI Revised Valuation.

We have revised our privr voluaivn based on the most recent lostinony and coxe
developmiunis: Previously, we styled (hat we verdivt in the range of $700,000) to $1.25 million is
possible, noling that apportionment may serve tw reduce the award, However, given the facts
that (1) Plaintil? will now advarice a lost earning capacity loin (which will likely be more than
$200,000) wil €2) Plaintiffs fkayed emotional state may make the jury less likely to assign
blame to him, we believe the valuation of the case must be tuljusted upwards, We think the
likely range of verdicts in this case to be between $1.25 and $1,5 million, OF course, il is
possible (hat a verdicl on cither side of this estimate might be returned as well, As for
apportionment, we believe the likelihood of apportionment trends downward as the sympathy
luetor for the PlaiatifT is inereased. If PlaintilT presents al tial as he did at hiy most recenl
deposition, sympathy may be on his side,

We look lorvard to discussing this with you at your convenience,

Sinegrelyf, - yp
fob iS ,
(am

Chrisiapher T, Byrd

CTBlle

ce: Y. Kevin Witliams, Esq.

J, Tyler Schermerhorn, Esq.

LIBERTY 001261

CONFIDENTIAL
Case 1:15-cv-00949-SCJ Document 118 Filed 10/31/17 Page 9 of 69

Simpson, Michele

From: Mosserl, Miriam <Miriam.Mosseri@ACEGroup.com>

Sent: Thursday, November 06, 2014 8:59 AM

Ta: Simpson, Michele

Subject: RE: TRIAL SETTING - Stephen D, Wells v. Aslan Commons, LLC, et al,/Claim No.:
§SCAS00152481

Sure.

Miriam Masseri
Claims Director, Excess Casualty Claims
ACE North American, 10 Exchange Place, 9th floor, Jersey City, NJ 07302 T 201-356-5109

Miriam.Mosserl@acegroup.com | www.acegroup.com

--—Original Message—
From: Simpson, Michele [mailto:Michele.Simpson@LibertylU.com]
Sent: Wednesday, November 05, 2014 6:10 PM

To: Mosserl, Miriam
Subject: Re: TRIAL SETTING - Stephen D. Wells v. Aslan Commons, LLC, et al./Clalm No.: 5SCAS00152481

Miriam,
Can you and | chat briefly before the group call tomorrow moming? 9:30am?
Sent from my iPhone

On Nov 4, 2014, at 1:45 PM, “Mosserl, Mirlam”
<Miriam.Mosseri@ACEGroup.com<malito:Miriam.Mosseri@ACEGroup.com>> wrote:

| can do Thursday at 10am EDT

Miriam Mosserl

Clalms Director, Excess Casualty Clalms

ACE North American, 10 Exchange Place, 9th floor, Jersey City, NJ 07302 T 201-356-5109
Miriam.Mosserl@acegroup.com<mailto:Mirlam.Mosseri@acegroup.com> |
www,acegroup.com<http://www.acegroup.com/>

From: Joe Cahill {mailto:jcahti@aslanrg.com}

Sent: Tuesday, November 04, 2014 12:08 PM

To: Darin Collier; Byrd, Chris; Mosserl, Miriam; Faye Wall;
michele.simpson@libertylu.com<mailto:michele.simpson@libertyiu.com>; Schroder, Mike

(Mike. Schroder@swiftcurrie.com<mailto: Mike. Schroder@swiftcurrle.com=);
Tre_Horton@swissre.com<mallto:Tre_Horton@swissre.com>

Ce: Williams, Kevin; Schermerhorn, J. Tyler; Coleman, Linda L.

Subject: RE: TRIAL SETTING - Stephen D. Wells v. Aslan Commons, LLC, et al./Claim No.: 5SCAS00152481

Thursday works for Aslan.

From: Darin Collier [mailto:dweolller@worthingse.com]

Sent: Tuesday, November 04, 2014 6:13 AM |
To: Byrd, Chris; Mosseri, Mirlam; Faye Wall; |
michele.simpsan@libertylu.com<mallto:michele.simpson@llbertyiu.com>; Schroder, Mike |

1

CONFIDENTIAL

 
Case 1:15-cv-00949-SCJ Document 118 Filed 10/31/17 Page 10 of 69

(Mike. Schroder@swiftcurrie.com<malito:Mike.Schroder@swiftcurrie.com>); Joe Cahill;
Tre_Horton@swissre.com<mailto:Tre_Horton@swissre.com>

Cc: Willlams, Kevin; Schermerhorn, J.Tyler; Coleman, Linda L.

Subject: RE: TRIAL SETTING - Stephen D. Wells v. Aslan Commons, LLC, et al./Clalm No.: 58CAS00152481

Traveling Friday; Thursday Is better for Worthing.

From: Byrd, Chris [mailto: CByrd@wwhgd.com]

Sent: Tuesday, November 04, 2014 8:68 AM

To: Mosserl, Mirlam; Faye Wall; michele.simpson@liberlyiu.com<mailto:michela.simpson@libertylu,com>;
Schroder, Mike (Mike,Schroder@swiftcurrie.com<mailto:Mike.Schroder@swiftcurria.com>); Darin Colller; Joo
Cahill (jcahill@aslanrg.com<mailto;jcahill@aslanrg.com>);
Tre_Horion@swissre.com<mailte:Tre_Horton@swissre.com>

Co: Williams, Kevin; Schermerhorn, J.Tyler; Coleman, Linda L.

Subject: RE: TRIAL SETTING - Stephen D. Wells v. Asian Commons, LLG, et al/Clalm No,: 5SCAS00152481

I'm up for a team-wide call, The Sth is bad for me, though. | have a call in the morning and a depo In the
afternoon, Does Thursday or Friday of this week work for everybody?

From: Mosseri, Miriam [mallto:Miriam.Mosseri@ACEGroup.com]

Sent: Friday, October 31, 2014 1:03 PM

To: Byrd, Chris; fjwall@worthingse.com<mailto:fjwall@worthingse,com>;

michele. simpson @llbertylu.com<mailto:michele.simpson@libertylu.com>; Schroder, Mike

(Mike. Schroder@swiftcurrle.com<mailto;Mike.Schroder@swiftcurrie.com>); Darin Colller
(dweollier@worthingse.com<mailto:dwcollier@worthingse.com>); Joe Cahill
(jcahill@aslanrg.com<mallto:jcahill@aslanrg.com>);
Tre_Horton@swissre.com<mailto:Tre_Horton@swissre.com>

Ce: Williams, Kevin; Schermerhom, J. Tyler; Goleman, Linda L.

Sublect! RE: TRIAL SETTING - Stephen D. Wells v. Astan Commons, LLC, et al./Claim No.: 5SCAS00152481

Thank you Chris, | suggest we get on a call fo discuss strategy. | am available all day on 11/5.

Miriam Mosseri

Claims Director, Excess Casualty Claims

ACE North American, 10 Exchange Place, 9th floor, Jersey City, NJ 07302 T 201-356-5109
Mirlam.Mosseri@acegroup.com<mailto:Miriam.Mosseri@acegroup.com> |

Www. acegroup.com<hitp:/Avww.acagroup.com/>

From: Byrd, Chris [mallto:CByrd@wwhgd.com]

Sent: Friday, October 31, 2014 12:54 PM

To: fjwall@worthingse.com<mailto:jwall@worthingse.com>;
michale.simpson@libertyiu.com<mailto:michele.simpson@libertylu.com>; Mosserl, Mirlam; Schroder, Mike
(Mike.Schroder@swiftcurrie.com<mailto:Mike.Schroder@swiftcurrla.cam>); Darin Collier
(dweollier@worthingse.com<mallto:dweollier@worthingse.com>), Joe Cahill
(jcahill@aslanrg.com<mailto:jcahlll@aslanrg.com>);
Tre_Horton@swissre.com<mailto:Tre_Horton@swissre.com>

Cc: Williams, Kevin; Schermerhorn, J.Tyler; Coleman, Linda L.; Byrd, Chris

Subject: TRIAL SETTING - Stephen D. Wells v. Aslan Commons, LLC, at al./Claim No.: 5SCAS00152481

All:

This case has been placed on a two-week trial calendar starting December 14st. Itis difficult to tell whether we
will actually go at that time, there are seven cases ahead of us. It is possible we will start later In the week,
sometime the following week or that they won't get to us at all. Of course, we will contact those in front of us to

2

LIBERTY 001278

CONFIDENTIAL
Case 1:15-cv-00949-SCJ Document 118 Filed 10/31/17 Page 11 of 69

determine whether thelr cases are likely to settle, Until we hear otherwise, we will need to prepare as though
this case will be tried on December 1st.

Christopher T. Byrd

Attorney

WEINBERG WHEELER
HUDGINS GUNN & DIAL

3344 Peachtree Road NE

Suite 2400

Auanta, GA 30326

404-832-9646 phone

404-875-9433 fax
VCARD<http://www.wwhgd.com/veard-9.vel>

www.wwhgd.com <http:/Awww.wwhgd.com%20>

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Case 1:15-cv-00949-SCJ Document 118 Filed 10/31/17 Page 12 of 69

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Case 1:15-cv-00949-SCJ Document 118 Filed 10/31/17 Page 13 of 69

Traige - sus reg sent to mgr for adjuster assignment

Premise liability - BI loss - Sandy Springs, GA

Explosion in tenant's apartment due to uncapped gas line in laundry area.
Claimant sustained burns to over 60% of body. Eyelashes burned off and
extensive bruns to face and ears. He has 3rd burns to arms and legs

requiring skin grafts. Claimant demands SSMM.

We attach at SIMM

Updated: Z03FRAS1 04/24/13 17:31:40

Considering the potential severity of the damages and the $1m attachment
point this matter has been assigned to Miriam Mosseri on the complex team.
Updated: ZO9MORI2 04/25/13 14:09:47

Notice of loss came only with demand letter from plaintiff's counsel dated
3/19/13 addressed to defense counsel Christopher Byrd of Weinberg Wheeler.
The letter includes the following facts:

DOL: 5/31/10

Claimant: Steve Wells

Claimant lived in the Edgewater complex at Sandy Springs, GA. He was in the
process from moving from one apartment to another in the same complex.
Maintenance came in to fix the new apartment and when claimant reentered
that apartment an explosion occurred. Apparently gas valve was turned on
int eh apartment which claimant claims he was not aware of. Claimant was

severely burned. According to P's letter, the fire dept investigated and

 

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U.S. District Court for the Northern District of Georgia, Case No. 1:15-CV_0949-WBH
Case 1:15-cv-00949-SCJ Document 118 Filed 10/31/17 Page 14 of 69

determined the explosion was result of an uncapped gas line int he laundry
area.

Claimant was burned over 60% of his body with 1st 2nd and 3rd degree burns.
He underwent surgery and spent 15 days in the burn unit.

P's letter makes a 30 day time-limited demand in the amount of $5M (this
time has now passed) consisting of the following breakdown of coverage:
S1M primary coverage for WSE - Axis insurance

S1M primary for Aslan (the insured) - Liberty

S3M in excess from defendants' umbrella coverage - Zurich and ACE.

POA: will contact insured, underlying and defense counsel to obtain more
information, was there a response to the demand, confirm involved parties
and coverages available. | will also pull my policy and investigate the

late notice issue.

Updated: ZO3MOSM1 04/25/13 14:43:40

Reviewed and discussed with claim handle. iii 7 i i
ES ct that notice

came after time limit demand is concerning and clearly left us without any
opportunity to influence claim, accept demand, exert pressure etc. We need
to move quick so we can make an appropriate decision timely.

Updated: ZO9STRR1 04/25/13 19:47:29

sent follow up request for the policy. Spoke with defense counsel Chris

Byrd of Weinberg Wheeler (404-832-9546). The Plaintiff's demand of $5M was
rejected and mediation took place a week ago and was unsuccessful. At
mediation plaintiff came down to $4.9M but indicated he would not settle

below $1M. DC thinks it will take between $1M and $2M to settle. | called

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U.S. District Court for the Northern District of Georgia, Case No. 1:15-CV_0949-WBH
Case 1:15-cv-00949-SCJ Document 118 Filed 10/31/17 Page 15 of 69

the Liberty adjuster Michelle Simpson (212-208-9578) and left message -
need to verify coverage tower and also want her policy. Counsel advised
that we are still in discovery phase and there is no trial date. Although

we have a good defense theory - which is that plaintiff opened the gas cap
himself, there are still things that can come up in discovery and plaintiff
suffered serious injuries, Counsel thinks at the end of the day it will
probably be a damages case. Plaintiff incurred about $225K in meds so far
and has recovered pretty well. | asked counsel to copy me on all
correspondence going forward and provide me with copies of pleadings and
litigation reports that have been prepared for Liberty so far.

ne Given that the demand was rejected,
mediation failed and the case is far from trial date, | dont think late

notice will be an issue.

Updated: ZO3MOSM1 05/02/13 16:15:39

Late notice issue resolved. Continue f/u as planned. a)
Sa a a Se ee
[SoISSoreS Samy eal

Updated: ZO9STRR1 05/10/13 16:16:02

counsel provided updated report - placed in Apollo - the following is a
recap on some of the important aspects covered in the report:
Liability/Damages:

As per counsel, Wells' has reached the limits of his physical recovery.
Thus, his medical bills should not increase much over what they currently
are, There is a discrepancy, however, between the bills counsel has

retained (approx. $223,000.00) and what Wells recalls (over $250,000.00).

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U.S. District Court for the Northern District of Georgia, Case No. 1:15-CV_0949-WBH
Case 1:15-cv-00949-SCJ Document 118 Filed 10/31/17 Page 16 of 69

Counsel is working on obtaining all medical records to date. Wells
recently began seeing a psychologist or psychiatrist for his alleged PTSD.
Assuming he is being truthful about this new line of emotional treatment,
the amount of his medical bills may rise. Wells provided an itemization
of his property loss to his insurer, estimating the total amount at
$26,525.00, And, of course, Wells is seeking more ethereal pain and
suffering damages (both physical and emotional), which will be left
entirely up to the jury to determine.

Wells' was an invitee of Aslan; and thus, Aslan owed Wells a duty to keep
the The Edgwater premises in a reasonably safe condition. In addition,
WSE, in managing the apartment complex, did have a duty to carry out its
obligations in a non-negligent manner. The prosecution of Wells’ case will
focus on the argument that failing to cap the gas lines in Apt. 1703 was a
breach of both Aslan's and WSE's duty which proximately caused Wells’
injuries. Our expert will testify that it is reasonable for the

maintenance employees to rely on the inspections of the certified building
inspectors which are mandated by the City of Sandy Springs pursuant to city
ordinance which was in 2007. Our only other liability defense is that
Wells was contributorily negligent because he opened the valve to the gas
dryer line while attempting to light his water heater. It is conceivable

that a jury will allocate some amount of fault to Wells as it seems the
mystery man is a fabrication of his own in an attempt to avoid liability.
Nonetheless, Plaintiff's counsel will argue that it was a WSE employee, not
Wells, who opened the valve. He will also argue that the reason the gas

line must be capped is in order to prevent exactly what happened in this

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U.S. District Court for the Northern District of Georgia, Case No. 1:15-CV_0949-WBH
Case 1:15-cv-00949-SCJ Document 118 Filed 10/31/17 Page 17 of 69

conversation between him and his urologist; there is no evidence of the
cause of or treatment for the purported erectile dysfunction in the medical
records thus far. Counsel has asked his counsel to provide whatever
additional records support Wells’ opinion in this regard, and it seems
apparent that they have no such documentation at this point. Plaintiff's
counsel has indicated that they will likely rely upon the testimony of the
urologist. Thus, counsel is in the process of setting his deposition.
Likewise, Plaintiffs have failed to provide any medical records to
substantiate Wells’ claim of being diagnosed with Post Traumatic Stress
Disorder after the explosion. Counsel continues to seek Wells’
psychological records directly from his medical provider and may need to
depose Wells' psychologist/ psychiatrist (if, indeed, he has one).

Plaintiff's counsel has recently informed us that he intends to make some
sort of lost income/earning capacity claim. Wells has already testified
that he was not docked any pay for the time he missed from work. Thus,
this claim appears to be based upon (1) the fact that Wells may have used
vacation days as he was recovering to avoid having his pay cut, and (2) the
allegation that, though he continues to work at the same job and rate of
pay, Wells is nevertheless impaired and his chances of
advancement/alternate employment are limited. Counsel is scheduling the
deposition of the principal at Wells' school to discuss this very topic and
have asked Plaintiff's counsel for a detailed accounting any such claim.
The report does not contain a settlement evaluation or jury verdict search
- | will ask counsel to opine on those points - although based on what |

see thus far, the evaluation should remain the same.

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U.S. District Court for the Northern District of Georgia, Case No. 1:15-CV_0949-WBH
Case 1:15-cv-00949-SCJ Document 118 Filed 10/31/17 Page 18 of 69

Updated: Z03MOSM1 07/01/13 16:42:31
Stay after DC as noted for current eval. iy
(EE ee

Updated: ZOOSTRR1 10/21/13 16:59:30

counsel advised an updated litigation report will be distributed next week.
In the interim he advised they had depos of Well's speech therapist and
WSE's corporate representatives. Counsel also had informal discussions with
P's counsel about the numbers previously negotiated. P's counsel indicated
that he would drop to $3 million if we were to go to $1 million. He then
said he didn’t know if he would ultimately settle closer to our number or
his, but that this bracket would be a start. DC instinct is that he will

settle for less than $2M - possibly much less but he is definitely hung up

on getting at least $1M. | will wait for counsel's report and will then
prepare CLR accordingly. | il
BSE Se

Updated: ZO3MOSM1 11/06/13 20:51:51

although counsel provided a report, it didn't include his evaluation. It
did, however, indicate that verdict range can potentially be anywhere
between $750K and $1.25K. Plaintiff's counsel, however, is unwilling to
mediate this case until there is $1M on the table from Liberty. Liberty is
not willing to do that and | told counsel Im not in agreement for Liberty
to put up the limit anyway since | think the case is valued under the $1M.,
Counsel is filing motions for SJ of various reasons. First, for punitives

and attorney fees and then also for Aslan since they were the property

owner and had nothing to do with running the facility - WSE wa the

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U.S. District Court for the Northern District of Georgia, Case No. 1:15-CV_0949-WBH
Case 1:15-cv-00949-SCJ Document 118 Filed 10/31/17 Page 19 of 69

management company and they ran the facility - there is a good chance these
motions will be granted. | looked back to the policy - need to look at

punitive damages and see if letter needs to go out on that and also whether
WSE is an additional insured on our policy (they are on Liberty). What

happens if Aslan gets out and WSE remains? WHen | looked in Apollo, turns

out | don't have the complete copy of the policy. | sent an urgent request

today for complete copy of the policy and will explore those 2 issues.

Updated: ZO3MOSM1 12/12/13 19:44:47

policy not yet received - called Ms, Parker and put in rush request - once

received need to review the covered entities and how MSJ will affect and

also need to look at punitives.

Received message from counsel today that we were placed on a trial calendar
for January 21. We are in position five (out of five) for a one week

stack. The trial setting was a bit of a surprise. There is a discovery

motion pending (we've moved the court to compel the Plaintiff to produce

his Facebook information), and, obviously, we wanted the Court to rule on

that motion and provide us with time to follow up on whatever was produced,
The clerk previously informed us that we would be set for a hearing on

the motion to compel in mid-January at the latest. As such, counsel we will
move the Court for a continuance to allow time for the discovery motion to
be heard and some brief follow up.

conference call with counsel and underlying carrier being scheduled for

today.

Updated: Z03MOSM1 01/02/14 15:39:36

Had group call: trial date will most likely be moved to April - we will

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U.S. District Court for the Northern District of Georgia, Case No. 1:15-CV_0949-WBH
Case 1:15-cv-00949-SCJ Document 118 Filed 10/31/17 Page 20 of 69

have a set date next week,

DC is contemplating filing Motion to dismiss for Aslan - good argument to
get them out - In GA if you own a property and don't do the day to day
operations, you are an absentee owner and cant be held liable to keep
premises safe. But what happens to WSE? If Aslan gets dismissed will WSE
have coverage? Liberty is reviewing and have not given a definitive answer.
Im still waiting for a complete copy of my policy (which | asked for it
again today).

Se ee ea | also
asked Liberty adjuster to send me copy of her policy.

Updated: ZO3MOSM1 01/02/14 20:30:53

placed another urgent request for my policy

Updated: ZO3MOSM1 02/14/14 14:57:23
Received my policy - [iii
ee | wil! also follow up with Liberty for

copy of their policy and DC as to the motions and status.
Updated: ZO3MOSM1 02/18/14 16:02:51

Sent another follow up request to Liberty for their policy. a

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U.S. District Court for the Northern District of Georgia, Case No. 1:15-CV_0949-WBH
Case 1:15-cv-00949-SCJ Document 118 Filed 10/31/17 Page 21 of 69

Liberty adjuster Michele Simpson told us over the phone on last conference
that they are Insured under her policy, however, | need a copy of her

policy to confirm. Sent her an email following up on my request.

Also, | called and left a message for defense counsel - need status and is
there a new trial date? was MSJ filed? Will discuss evaluation again and

see if we can get negotiations moving again.

On punitives: since we are not sure whether GA or CA law will apply, and
since the two jurisdictions are opposed on their view of recovery of
insurance for punitive damages, | will draft a letter reserving on this

issue.

Updated: ZO3MOSM1 03/13/14 20:56:28

status from DC:

1. Both sides have filed motions for summary judgment.

2, We will be having a telephonic conference on Defendants’ pending motion
to compel (re Plaintiff's Facebook account). We are hopeful that the

judge will order Plaintiff to produce at least some of his past-incident
Facebook postings.

3. we filed a notice of non-party at fault, asking the Court to permit the

jury to apportion fault to (1) the "mystery" repair man, and (2) the City

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U.S. District Court for the Northern District of Georgia, Case No. 1:15-CV_0949-WBH
Case 1:15-cv-00949-SCJ Document 118 Filed 10/31/17 Page 22 of 69

of Sandy Springs (and its building inspector), We've never had much faith
in our ability to apportion to Sandy Springs or the building inspector,

since there is no evidence that the inspector ever came across an uncapped
line. As expected, Plaintiff has moved to strike our notice. Counsel
believes the best course is to withdraw the notice - here's why:

Regarding the "mystery man", our argument at trial is going to be (and the
evidence supports it) that there was no mystery man. Rather, Wells turned
on his gas, and the mystery man is a lie to cover his tracks. Originally,

my idea regarding having the mystery man on the verdict form was to enable
us to make the alternative argument: "If Plaintiff is right and some guy
came in an turned on his gas, he hasn't proved it was us; so, you can
apportion fault to this stranger.” However, this argument may prove
confusing to the jury. Since we are going to allege there was no mystery
man, it is probably wiser to not take what the jury might construe as a
contrary course of action (or a course of action that Pete Law can claim is
contradictory) by having the mystery man on the verdict form.

Regarding the City of Sandy Springs, there fs really no way for us to prove
that they did anything wrong. Certainly, it appears that they were not
looking for capped gas lines as part of their inspections, but there's no
evidence that they actually overlooked a code violation. In other words,
there is no evidence that they inspected an apartment that had an uncapped
line at the time of the inspection. Since the Defendant bears the burden

of proving liability to permit apportionment, we believe that Plaintiff's
lawyer would highlight our inability to prove Sandy Springs' liability to

our disadvantage.

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U.S. District Court for the Northern District of Georgia, Case No. 1:15-CV_0949-WBH
Case 1:15-cv-00949-SCJ Document 118 Filed 10/31/17 Page 23 of 69

For these reasons, we feel that, rather than oppose the motion to strike,

we should simply withdraw our notice of non-party at fault. We would still
be able to argue that Wells turned on his own gas and that the mystery man
doesn't exist. Also, we will still be able to explain WSE's reliance on

Sandy Springs’ inspections as evidence of our reasonable behavior.

4. We have no new trial date as of yet. If the judge orders that some
information be produced per the motion to compel, he would probably also

wait at least a couple of months before setting this matter for trial.

Otherwise, counsel expects the case to be set in short order after the

judge rules on the pending dispositive motions.

Updated: ZO3MOSM1 03/14/14 16:38:26

spoke with DC:

Cross motions for SJ pending. Judge granted our motion to compel - Wells FB
information but not much in there. Just some meesages he is saying he was

feeling ok. Judge denied our motion to go into FB account so we don't know

if we have the entire thing. Tried to set date for the SJ hearig - didn't

get anywhere on that.

We didnt file MSJ on getting management company out. It was agreed to leave
management company in but we are not worried about it for trial - there is
nothing to attribute fault on them and plaintiff has not even deposed

them.

Basis of SJ: no evidence on when the line became uncapped - could have been
months or days before explosion, We are saying plaintiff needs to prove we
had a hand at having it uncapped and they cant show we are actually

negligent. They have to claim res ipsa loquitor and they cant to do so

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U.S. District Court for the Northern District of Georgia, Case No. 1:15-CV_0949-WBH
Case 1:15-cv-00949-SCJ Document 118 Filed 10/31/17 Page 24 of 69

because it wasn't in our exclusive control. They are looking for SJ

affirming the negligence and requesting a damsges trial. Chances are judge
wil deny both and we'll proceed to trial. In our reply, however, we raise
other issues such as no evnidetniary support on loss wages, erectile
dysfunction and post traumatic stress - we have a good chance to get those
claims out - plaintiff has no evidence to support those claims.

Settlement evalution - plaintiff has $300K in meds, completely recoevered,
no support for erectile dysfuntion or post traumatic stress. He has some
scarring and weakened voice. His condition is not bad. Multiply by $300M by
3 - about S90OK. Range for verdict is $750 to $1.25M. But counsel thinks
we have a good shot at getting this reduced because we have good evidence
that he closed his own gas. How much fault they assign to him is anoyeone
guess. First thing he said to MES personeel is that he tried to close the
water heater. GA - comparative negligence, If he gets 50% or greater, he
doesn't receoveer at all. We'll defintely get something off the verdict
question is how much. If verdict is likely around $1M, with some fault
attributed to plaintiff, we may end up at $500K to $750K verdict.

Last demand - S5M (pre-mediation). Plaintiff will not mediate again until
$1M is on the table. Liberty is not prepared to do so because settlement
evalatuion is under $1M.

Punitives are alleged. They are in the SJ motion and we have over 60%
chance of success. They have ta show malice - its more than gross
negligence and there is no evidence.

| called and left message for the Liberty adjuster : Michelle Simpson -

212-208-9578 - | wan to discuss possibilty of focus group with her - |

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U.S. District Court for the Northern District of Georgia, Case No. 1:15-CV_0949-WBH
Case 1:15-cv-00949-SCJ Document 118 Filed 10/31/17 Page 25 of 69

think this is a good case to do so to see how jury will react to our
arguments.

Updated: Z03MOSM11 03/17/14 18:16:58

update:

1. The hearing on the cross MSJs has been set for May 29th.

2. Plaintiff has recently amended his prior discovery responses with two
substantive changes

First, Wells is now claiming to have quit his job due to his emotional

state. We deposed Wells' principal a while ago, and, at the time, she was
very complimentary of him. Wells received every raise he was due, and she
had no complaints about his job performance. Also, his employment records
demonstrated that, within a few months after the explosion, Wells had
returned to and maintained a full time schedule. Regardless, Wells now
contends that the stress of his school job was too much, He's begun
working part-time at Lowes. This means Plaintiff will likely attempt to
place some numbers on a lost income claim, though they've yet to do that.
Obviously, we will want to re-depose Wells on this change of story. We may
also want to re-depose his principal

Second, Wells has apparently seen additional providers related to his claim
of emotional distress. He has always maintained that he suffered PTSD as
a result of the explosion (a diagnosis which he had also been given prior

to the explosion related to other drama in his life), but he maintained an
objection to us gathering those records, Now he's claiming to have seen
additional doctors. DC does not yet know if Plaintiff is going to produce

actual records related to these visits, but will push for them (or ask the

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U.S. District Court for the Northern District of Georgia, Case No. 1:15-CV_0949-WBH
Case 1:15-cv-00949-SCJ Document 118 Filed 10/31/17 Page 26 of 69

court to dismiss any PTSD claim for lack of evidence - which we've already
done).

DC is following up with Plaintiff's counsel for more specifics regarding

the above. This will probably translate into slightly higher past medical
bills, but also some claim of lingering emotional damages (to contribute a
claim of future pain and suffering and possible future medical

treatment).

Left message for UL adjuster Michele Simpson - made several requests for
her policy an dhave not yet received it. Also want to discuss strategy with
her and see if she will consider focus group at this point.

Updated: ZO3MOSM1 04/25/14 14:46:59

Draft reservation letter on punitive daamges sent to the broker today.
Updated: ZO3MOSM11 05/12/14 20:42:30

coverage letter issued to insured today.

Updated: ZO3MOSM1 05/21/14 21:12:29

update from DC:

1. We've deposed Wells to get to the bottom of his income claim. You'll
recall that his counsel announced that he had to recently quit his job as a
teacher/IT tech at the private school with which he was employed. Wells
testified that he had to do this for psychological reasons. According to
him, the stress of his job became overbearing. He couldn't face it
anymore. The psychologist he was seeing at the time recommended that he go
into some intensive outpatient psychological counseling, which he did. He
took a leave of absence from his jab and began gaing to counseling

sessions several times a week. His sessions grew less frequent after about

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U.S. District Court for the Northern District of Georgia, Case No. 1:15-CV_0949-WBH
Case 1:15-cv-00949-SCJ Document 118 Filed 10/31/17 Page 27 of 69

a month, but he continued to go. Finally, he decided that he would not be
able to go back to work at the school, and he officially quit. He then

took a job at a local Lowes, where he helps people load landscaping
materials into their cars/trucks. Wells says that this job is far less

stressful. Wells testified that he was told his job at Lowes is seasonal,

but that there's a chance a few seasonal employees may be kept on after the
summer. So, it's not clear how long Wells will stay at Lowes. He has no
benefits from his job at Lowes and he makes around $12 an hour. Thus,
annualized, he's making around $25K a year. This isn't a heck of a lot

less than he made annually at the school - which was gross $38K. We will
attack Well's claim with a reworked MIL. Notably, Wells admitted that he
psychological stressars he was facing stemmed from problems which pre-dated
the explosion (which he claims were made worse). We will argue that Well
did not lose earning capacity due to the explosion. Rather, he chose to

quit his job.

2. We had the hearing on the Motions for Summary Judgment. Both sides’
motions were denied. Notably, however, the Judge was vacal about his
leanings towards dismissing Plaintiff's claims for punitive damages and
attorneys’ fees. The Plaintiff's lawyer told the judge that he would not
mention punitive damages at all during the trial, and this lead the judge
saving the claims for now, So, as it stands, Plaintiff will not mention
punitive damages or bad faith attorneys’ fees in his case in chief. We

will be free to move for directed verdict on these issues at trial, and the
judge made it clear that, unless Plaintiff comes up with more than he's

seen so far, he'd likely grant such a motion. The judge refused to rule on

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U.S. District Court for the Northern District of Georgia, Case No. 1:15-CV_0949-WBH
Case 1:15-cv-00949-SCJ Document 118 Filed 10/31/17 Page 28 of 69

more focused issue of Plaintiff's economic loss and claims of erectile
dysfunction and psychological injuries. Rather, he focused on the larger
motions. We will re-raise those issues in motions in limine.

3. There is no trial date, but it wouldn't surprise me if we get placed on

a trial calendar in the next couple of months. It just depends on when
the Court gets around to doing it.

Updated: ZO3MOSM1 06/13/14 18:12:55
Trial has been set for December ist, 2014. | sent DC request to set up a
group call to discuss strategy.

In his July 24, 2014 status report, DC provides as follows:

Medicals: Plaintiff incurred approximately $225K and there is no indication
of future treatment. Past and future pain and suffering are comensabe but
his physical insjuries have essentially healed.

Plaintiff does have some visible scars on his forearms and calves nor
remarkable. NO scars to face.

DC is moving to prohibit any mention of P's alleged erectile dysfunction as
we believe there must be causation evidence in the form of expert
testimony to support such claim and plaintiffs have not identified such
expert and his own medical records indicate that his condition is cause by
Peyronie's disease. THese records demonstrate that the etiology of
Peyronie's Disease is unknown - DC is fairly confident that this claim will
be prohibited.
P claims PTSD but he has had a long history of PTSD and depression. DC will
be challenging this claims via motions in limine for various reasons: P

has failed to produce any medical records related to this diagnosis and

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U.S. District Court for the Northern District of Georgia, Case No. 1:15-CV_0949-WBH
Case 1:15-cv-00949-SCJ Document 118 Filed 10/31/17 Page 29 of 69

treatment and has failed to identify any expert to opine that his current
emotional state is causally lInked to the explosion. Infact, plaintiff has
objected to our procuring said medical records.

In his most recent deposition, however, p did seem emotianally fragile, He
was anxious, nervous and sad. THe jury will probably believe he suffers
from various emotional symptoms even if he is not permitted to testify
regarding a psychiatrist diagnosis.

Lost income: although he claims to have lost income, he was a salaried
employee who was never docked any pay from missing work after the
explosion. Also, he returned to work as full time teacher/IT tech at a
private schoo! several months after the DOL. He recently tried to make an
attempt to revitalize his lost income claim and voluntarily quit his job
claiming it was too stressful for him. But his current job is a very

physical one - he is on his feet carrying heavy items at Lowes even though
at his first deposition he claimed he was fatigued all the time and lacked
stamina after the explosion. His former boss, the principal at the school
was shocked at his resignation as she claimed that he was doing well - all
his co-workers said same.

P has not identified expert economist. It will probably be around $200K. He
is now 57.

In his July 24th report, DC revised his valuation based on recent
testimony. A likely range of verdict is between $1.25 and $1.5M. This is
not settlement evaluation. On settlement, | dont think this warrants more
than the UL S1iM.

Updated: ZO3MOSM11 11/03/14 16:35:34

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U.S. District Court for the Northern District of Georgia, Case No. 1:15-CV_0949-WBH
Case 1:15-cv-00949-SCJ Document 118 Filed 10/31/17 Page 30 of 69

| have retained Mike Frick of Hall Booth to monitor the trial as appellate
counsel.

Updated: ZO3MOSM1 11/23/14 15:04:31

Trial got pushed to January 12th.

Liberty offered a bracket of 400/900 in response to plaintiffs proposal of

1 mil/3 mil.

Pete law responded with a high/low praposal of 900/9 mil.

Had conference today with defense counsel, Liberty and Mike Fric. If we
agree to a high low at trial, we preserve all rights on appeal and

post-trial motions

It was agreed we will present a high low of $250K and $1.2M

Updated: ZO3MOSM1 12/09/14 19:28:54

In response to our high low of $250K and $1.2M, plaintiff's counsel
responded with $800K and $8M. Next move contemplated at high low of $350K
and $1.3M. Sent manager note requesting authority.

Updated: ZO3MOSM1 12/16/14 18:15:53

following discussion with manger, | authorized next move of high low of
$350K and $1.25M. An agreement of high-low will not waive any appellate
rights.

Updated: ZO3MOSM1 01/02/15 15:54:22

P's counsel didn't want to continue discussions on high low. On sunday
afternoon (one day prior to trial) | got a call that Liberty was tendering
their $1M. | called P's counsel. He is not interested in anything less than
$3M to settle. | advised him that | have the $1M and advised | may be able

to do‘a little more on top of that but in no way it will be close to $3M.

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U.S. District Court for the Northern District of Georgia, Case No. 1:15-CV_0949-WBH
Case 1:15-cv-00949-SCJ Document 118 Filed 10/31/17 Page 31 of 69

Our DC's evaluation o on tikely verdict is between $1.2M and $1,5M. Trial
beginning today.
The following is DC's outline of the motions in limine that were decided on
Friday:

1. The fact that over 50 other apartments were found (after the explosion)
to have dryer lines with no caps (and were subsequently capped) will come
in. Such evidence goes to notice, existence of a defect and there is law
that states that, where a state agency requires an action, such an action

is not excludable as a subsequent remedial measure.

2. Plaintiffs attempted to exclude the EMT statement that Wells told her "I
tried to light the water heater" on hearsay grounds. That statement will
come in as recorded recollection.

3. We argued that the court should not permit Plaintiff's counsel to argue
that apportionment to Wells will reduce the amount of any award he
receives. The judge ruled against us, noting that he typically informs the
jury of the effect of apportionment. Plaintiff's lawyer will be free to

argue that that every percentage point of fault assigned to his client
reduces the award (| would expect the argument to be phrased as
"apportioning fault to Plaintiff gives defendants a 'discount'") and he

will be able to also stress that assigning 50% to Plaintiff would result in

no recovery at all.

4. Jeannie Dollar's testimony (the voice therapist) will be allowed. Thus,
the jury will hear that Wells has a permanent voice deficit. Along those
same lines, Plaintiff will be able to inform the jury that he has erectile

dysfunction and that he suffers from PTSD/depression. He will not, however,

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U.S. District Court for the Northern District of Georgia, Case No. 1:15-CV_0949-WBH
Case 1:15-cv-00949-SCJ Document 118 Filed 10/31/17 Page 32 of 69

be able to testify as to any doctor's diagnosis. We, in turn, can bring up

the fact that he has been diagnosed with PTSD/depression in the past.
Also, we will be able to point out that Well's ED is caused by Perrone's
disease.

5. As for Plaintiff's claims of permanent disability/injury, Plaintiff's

lawyer informed the court that he has no intent to argue that Wells will be
unable to work at the pre-explosion level for the rest of his life.

Rather, he will say that Wells cannot now work at that level and he does
not know when or if he will be able to return. Plaintiff's lawyer said he
does not intend to "blackboard" a lost income number. He is going to leave
it up to the jury.

6. Plaintiff attempted to keep us from arguing that Wells turned on his own
gas. That motion was denied.

Updated: ZO3MOSM1 01/12/15 14:41:42

Miriam has downloaded the daily trial reports in to Apollo. please see same
for reports.

Updated: Z1SWALP1 01/18/15 15:59:17

Aslan is bare above us. Codefendant has $1M with Axis and $20M with Zurich.
(SS amen Vg Pv Se
See ee

Updated: Z15WALP1 01/18/15 15:59:41
VERDICT REPORT

On January 15, 2015 a Fulton County (GA) jury rendered an adverse verdict
in this matter in the amount of $72.9, said verdict includes punitive

damages which are capped in Georgia at $250,000. The verdict also include

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U.S. District Court for the Northern District of Georgia, Case No. 1:15-CV_0949-WBH
Case 1:15-cv-00949-SCJ Document 118 Filed 10/31/17 Page 33 of 69

attorney fees, the collectability of which is in dispute with two cases
currently before the Georgia Supreme Court. The verdict breakdown is as
follows:

$17,900,000 Compensatory damages

5 7,100,000 Attorney fees

$47,900,000 Punitive damages

$72,900,000 Total jury verdict

The compensatory award plus the collectible punitive damages award is
$18,150,000. On 5/21/14, we reserved our rights as to punitive damages
potentially not being covered under the Ace policy. (Georgia generally
allows for punitive damages to be insurable.) There are a number of
appellate issues which will be discussed below. Note that the jury did not
allocate liability between the defendants. They assigned 100% liability
against the defendants.

ACE Property and Casualty Insurance Company (ACE USA) provides $10,000,000
each occurrence/aggregate coverage to Aslan Realty Group, LLC. The ACE
limits are excess of a $1,000,000 primary limit provided by Liberty Mutual.
The defendant Aslan Commons, LLP is a named insured pursuant to
endorsement 12. The defendant WSE, the managing agent, is an insured by
definition. (WSE's carrier is on notice of this matter.) Both Aslan and WSE
were defended under the Aslan policies.

The plaintiff was a tenant at an apartment complex owned by Aslan Commons,
LLC and managed by WSE, LLC. He was moving from one apartment in the
complex to another. The new apartment included a laundry room witha

natural gas line terminating in a nozzle to which a dryer could be

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ACE Prop. & Ins. Co. v. Liberty Surplus Ins. Co., et al., CH 2576
U.S. District Court for the Northern District of Georgia, Case No. 1:15-CV_0949-WBH
Case 1:15-cv-00949-SCJ Document 118 Filed 10/31/17 Page 34 of 69

attached. The gas line was controlled by a valve located in the apartment's
utility closet (which included a gas hot water heater. To open or close

the valve, a wrench or pliers is needed. The gas line nozzle in the laundry
closet was not capped as required by code. Plaintiff alleges that gas

escaped from the nozzle in to the apartment and that upon his re-entering
the apartment (he was in the process of an "early move-in") the gas was
ignited sending a fireball through the apartment and resulting in his
sustaining burns. There is conflicting testimony as to whether or nota
"handy man" entered the apartment to work on the HVAC unit while plaintiff
was away from the subject apartment or whether plaintiff worked on the hot
water heater. The post-fire investigation found the valve in the open
position.

Plaintiff sustained burn injuries and scarring to his forearms and calves

with lesser scarring (not readily visible) to his face, ears and neck. He

had claimed erectile dysfunction as a result of the catheterization during

his burn therapy but subsequently agreed that the burns did not cause his
ED. He claims damage to his vocal chords and resulting hoarseness.

Plaintiff also claims depression, PTSD and anxiety disorder but had been
previously diagnosed with both depression and PTSD prior to the accident.
[Plaintiff wears a hearing aid and had difficulty at trial hearing

everything. While he didn’t connect a hearing loss to the explosion, his
family members did.] Plaintiff's past medicals are approximately $226K and
property damage of approximately $27K. Plaintiff was a teacher and returned
to work (he did not loss any salary as a result of the time missed from

this accident). He worked for 3 years before voluntarily quitting. His

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ACE Prop. & Ins. Co. v. Liberty Surplus Ins. Co., et al., CH 2577
U.S. District Court for the Northern District of Georgia, Case No. 1:15-CV_0949-WBH
Case 1:15-cv-00949-SCJ Document 118 Filed 10/31/17 Page 35 of 69

claim is that he can no longer handle the stress of teaching and is now
working at Lowes. He claims a loss of earning capacity (with diminished
benefits) of approximately $200K. His work at Lowes is physical and
includes loading customer's cars and trucks.

Appellate counsel (Michael Frick of Hall Booth Smith) opines that there are
three major appellate issues. The first issue is the trial judge's failure

to grant a directed verdict to exclude erectile dysfunction and the

partial hearing loss as damages. The defense was looking for the judge to
advise the jury that these conditions were not damages being sought by
plaintiff. Since the damages are not broken down by injury, the appropriate
appellate relief would be a new trial. Frick believes that we have a

better than 50% chance of success.

The second issue is the‘combined punitive damages and attorney's fees issue
and the judge's failure to grant a directed verdict for the defense on

those issues. Gross negligence is not sufficient for punitive damages,

there must be an intentional act. Since even plaintiff counsel acknowledged
no evidence of intent before the accident (plaintiff attorney alleges an
intentional act post-accident involving the disappearance of the valve but
that should not be applicable) and the judge acknowledged it was a weak
case, the motion should have been granted. Additionally, the attorney's
fees should only be granted where a defendant is being "stubbornly
litigious". Again, no evidence and the motion should have been granted.
Appellate counsel believes that the judge thought the jury would not award
punitive damages or attorney's fees. Appellate counsel believes that a

post-verdict motion is likely to succeed and, if not successful, there is a

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U.S. District Court for the Northern District of Georgia, Case No. 1:15-CV_0949-WBH
Case 1:15-cv-00949-SCJ Document 118 Filed 10/31/17 Page 36 of 69

better than 50% chance of success at the trial level.

The third issue is the alternative juror deliberating for 1 hours with the
Jury even though the juror should have been sent home after closings and
the charge. Unfortunately, this error is not considered a problem in civil
cases and the proper cure for same was followed by the judge. That is; the
judge met with the alternate and determined that she had, in fact, taken an
active part in the deliberations rather than merely listening in and then
the judge called in the jurors and asked if they could continue their
deliberations without regard to any input from the alternate. Since all

said they could, the error was cured. Appellate counsel believes that the
trial judge may be embarrassed by this faux pas (he has been on the bench
for approximately one year) and might order a new trial. However, he is not
confident that this will happen and on appeal opines that it is not a

strong argument with a very low chance of success but should still be
raised for its cumulative effect.

Lastly, appellate counsel raises the issue of apportionment, Georgia's
comparative fault statute states that if a plaintiff is 50% at fault he or
she does not collect. Some years ago, Georgia tort reform allowed for a
separate apportionment process wherein non-parties could have liability
assessed against them. Thus, the defense bar argues, the jury deliberates
on liability and apportion faults among all identified parties and
non-parties assigning percentages that add up to 100%. The jury then
calculates damages, if any and presents the apportioned liability
percentages and the damages amounts to the judge who then fashioned the

verdict. If the plaintiff is found to be 50% at fault, the judge then

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U.S. District Court for the Northern District of Georgia, Case No. 1:15-CV_0949-WBH
Case 1:15-cv-00949-SCJ Document 118 Filed 10/31/17 Page 37 of 69

applies the comparative statute and finds against plaintiff.

In this case, the judge rejected the defense position and included in the
verdict form a charge that if the Jury found plaintiff 50% (or more) at

fault, then plaintiff would not collect. We would argue that this was
prejudicial and tainted the deliberations. Although appellate counsel

opines that the error may not be important since the jury found 100%
against the defendants. However, there may be some cumulative effect to be
had If ralsed on appeal.

Updated: ZI5WALP1 01/18/15 16:01:27

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U.S. District Court for the Northern District of Georgia, Case No. 1:15-CV_0949-WBH
Case 1:15-cv-00949-SCJ Document 118 Filed 10/31/17 Page 38 of 69

Claim: 5SCAS000152481 @ ~ A a Coa = -
St Open{|' | f¥& Pol: DGLSF209149100 | Ins: ASIAN REALTY GROUP, LLC | Cimt Steve Wells | Policy Effective Date
04/01/2010 | Policy Expiration Date 84/91/2011 | DoL: 05/31/2010 | Handler Adam Lippman (LIU Primary Casualty 5)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Workplan |
vy es Due Priority Status Subject | | Exposures : Ext Owner | Assigned To
|
10/20/2015. High Open Update LLR-clesing? Adam
| Lippman
09/22/2015 Normal Open DJ - 30 day diary Adam
| Lippman
09/22/2015 Normal Open Review claim - signed Adam
release? Lippman
Loss Details
Details
Loss Detaiis
Insured ASIAN REALTY GROUP, LLC
Claim Title GA-Premises-Owner-Bl-Fire
Claim Description GA-Premises-Owner-Bl-Fire
Claim Status
Status & Open
Proceedings
Severity Under Investigation |
Flagged |

Claims Handling
Handled by TPA/LIU
Handling Type
Speciai Claim Permission

Loss Coding
Loss Code Group Casualty |
CoLi Fire Hostile
COL2
COL3

 

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Case 1:15-cv-00949-SCJ Document 118 Filed 10/31/17 Page 39 of 69

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04/01/2010 | Policy Expiration Date 04/01/2011 | DoL: 05/31/2040 | Handler Adam Lippman (LIU Primary Casualty 5)

Type Premises
Cat Code
Event Code

Recovery

Date of Loss / Date Reported

Date of Lass 05/31/2010
Claim Type Claim

Date Received by LIU 06/03/2010
Date Reported/Event 06/03/2010

Coverage Indicator
Coverage Indicator

Loss Location
Country Georgia
Address 1
Address 2
Address 3 |
Address 4
Address 5
City
Region
Postal Code
Location Code

Reported By
Name FULCRUM INSURANCE PROGRAMS

Role Broker/Agent
Reference

Page 2 f 09/18/2015 09:23 AM

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Case 1:15-cv-00949-SCJ Document 118 Filed 10/31/17 Page 40 of 69

Claim: 5SCAS000152481

Address
Email
Telephone

Storage

@ St Open | re | He Pol: DGLSF209149100 | Ins: ASIAN REALTY| GROUP, LLC | Clmt: Steve:Weils | Policy Effective Date
04/01/2010 | Poticy Expiration Date 04/01/2011 { DeL: 05/31/2010 | Handler Adam Lippman (LIU Primary Casualty 5)

Date Shipped to Storage

Storage Type
Box #
Storage Notes

Record Retention Date

Destruction Date

11235 SE 6TH STREET SUITE 220 BELLEVUE; WA 98004

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Associations
Exposures
#) Type | Claimant | Currency |Coverage| Adjuster | Status oi Description
1 Bodily Steve USD General Adam Open NA
Injury Wells Liability Lippman
2 General ALAE-BIl USD General Adam Open Created fer Exp
Liability Lippman
Contacts
Name Contact Group Roles Address Gity State/ ZIP
| Province Code
AccuTran, Inc. Check Payee 2500 Dailas Highway | Marietta Georgia 30064-7
ALAE-BI Claimant |
ASIAN Insured 20 PACIFICA'STE 450 IRVINE California 92618
REALTY
GROUP, LLC |
Aslan Other Other, Recovery Payer 20 Pacifica Suite 450 | Irvine California 92618
Commons LLC |
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Case 1:15-cv-00949-SCJ Document 118 Filed 10/31/17 Page 41 of 69

Claim: 5SCAS000152481

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Name Contact Group Roles Address City State/ ZIP
Province Code
Carolann Check Payee c/o Sun Realty Naples Florida 34103
Saenz |
Chris Shiver, Check Payee 2300 Holcomb Bridge Road Roswell Georgia 30076
PE, LLC |
FULCRUM Broker, Reporter 11235 SE 6TH STREET | Washington 98004
INSURANCE SUITE 220 BELLEVUE |
PROGRAMS |
Gray, Rust, St. Legal Check Payee, Coverage Counsel 950 E. Paces Ferry Rd. ATLANTA Georgia 30326
Amand, Moffett |
& Brieske, LLP |
Allen Hansen Underwriter
Hawkins, Lega! Check Payee, Check Recipient, 4000 SunTrust Plaza Atlanta Georgia 303083243
Parnell, Defense/Defence Counsel |
Thackston &
Young, LLP
Henning Legal Check Payee, Mediator/Arbitrator Henning Mediation & ATLANTA Georgia 30339
Mediation & Arbitration Service,
Arbitration
Service, Inc.
Legal Consultant Check Payee, Consultant 4470 Atlanta Highway Loganville Georgia 30052
Technology
Services, Inc.
|
PeterA.Law, Legal Check Payee, Claimant's/Plaintiffs S63 Spring StNW | Atlanta Georgia 30308
PC and Steven Counsel |
Wells |
REEVES Other Check Payee, Other REEVES INVESTIGATIONS, SUWANNE Georgia 30024
INVESTIGATIOt LLC
LLC
Thompson, Legal Check Payee, Coverage Counsel 700N. Pear! St. Dallas Texas 752012825
Coe, Cousins &
Irons, LLP |
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Case 1:15-cv-00949-SCJ Document 118 Filed 10/31/17 Page 42 of 69

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Name Contact Group Roles Address City State/ ZIP
; | Province Code
Tiffany Alley Check Payee 3348 Peachtree Rd! NE Atlanta Georgia 30326
Reporting & ; |
Video
Weinberg Check Payee 3344 Peachtree Road NE Atlanta Georgia 30326
Wheeler |
Hudgins Gunn |
& Dial LLC |
Steve Wells Claimant 1705 CIMARRON Heay SANDY Georgia 30350
SPRINGS
WHEELER Other Check Payee, Other WHEELER REPORTING CO., ATLANTA Georgia 30318
REPORTING INC.
CO. INC |
Kevin Williams Legal Check Payee, Defense/Defence c/o Weinberg Wheeler Hudgins Atlanta Georgia 30326
Counsel Gunn & Dial |
Policy: General
Insured
Name ASIAN REALTY GROUP, LLC |
Address 20 PACIFICA STE 450, IRVINE, CA 92618 |
Country of Risk CALIFORNIA
Accounting Currency USD
Policy Information
Policy Number DGLSF209149100
Policy Title SF GL Policy |
Office §SF LSI2 SAN FRANCISCO BRANCH
Insuring Company LSI2 - LS!2
Inception Date 04/01/2010
Expiration Date 04/01/2011
Policy Narrative NO
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LIBERTY 000929
CONFIDENTIAL
Case 1:15-cv-00949-SCJ Document 118 Filed 10/31/17 Page 43 of 69

Claim: 5SCAS000152481

Policy Type
Product
Major LOB
Lead/Follow
Primary/Excess
Status
Cancellation Date
Date Written
Policy Trigger

Additional Insured

Broker
Name

Underwriting
Underwriter

Additional Policy Details
Direct/Assumed
Reassured
Risk Engineer
Policy Reference
Facultative Reinsurance

Dashboard Elements
Dashboard Product
Dashboard Component
Dashboard Department

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Casualty
Casualty
NA
Primary
In-Force

04/01/2010
Occurrence

FULCRUM INSURANCE PROGRAMS

Allen Hansen

Direct

933436-001
No

CAS
GENERAL LIABILITY
GENERAL LIABILITY

Policy-level Coverages (Attachable)

 

Page 6

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Case 1:15-cv-00949-SCJ Document 118 Filed 10/31/17 Page 44 of 69

Claim: 5SCAS000152481

 

 

 

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04/01/2010 | Policy Expiration Date 04/01/2011 | DoL: 05/31/2010 | Handler Adam Lippman (UU Primary Casualty 5)
Coverage Section Section Detail | Effective Date | Expiration Date
Terrorism Inclusion CGL 001 CGL | 04/01/2010 04/01/2011
Employee Benefits CGL 001 CGL 04/04 72010 04/01/2011
General Liability CGL 001 CGL 04/01/2010 04/01/2011

 

 

Latest Notes

 

  
 

Appellate Counsel Approval | |

Appellate consel has been approved for a rate of 300/225/200 Yes. Hopefully this setties. From:
Cooper, Thomas Sent: Thursday, May 28, 2015 4:08 PM To: McNamara, Kevin: Bell, Elana Subject:
FW: Aslan v wells These guys are pricey. Senior partners = $300. Is that ok? From: Collier, Chris
[maitto:scotlier@hptylaw.com] Sent: Thursday, May 28, 2015 4:04 PM To: Cooper, Thomas Cc: Collier,
Chris Subject: RE: Aslan v wells Tom, for coverage work, that is correct. For post-tral/appellate work,
we can still do the $200 and $225 for associates and junior partners, but the senior partner rate is a

minimum of $300. Please advise if $300 for the senior partner rate is acceptable, and thank you in

Page 7 ' 09/18/2015 09:23 AM

LIBERTY 000931
CONFIDENTIAL
Case 1:15-cv-00949-SCJ Document 118 Filed 10/31/17 Page 45 of 69

Claim: 5SCAS000152481

 

  
 

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advance. Chris S, Christopher Collier Attomey:at Law|Hawkins Parnell Thackston & Young LLP Direct
404-614-7479 Office 404-614-7400 Fax 404-814-7500 ccollier@hptylaw.com From: Cooper, Thomas
[mailto:Thomas.Cooper@LibentylU.com] Sent: Thursday, May 28, 2015 3:31 PM To: Collier, Chris
Subject: RE: Aslan v wells You gave me your|rates inthe email below - $200 associate, $225 junior
partner, $250 senior partner?? Thomas R. Cooper IV Liberty International Underwriters 55 Water Street,
23rd Floor New York, NY 10041 Phone No.: (212) 208-4185 Cell No: (646) 704-2980 Fax No.: (212)
208-4230 Email: Thomas.Cooper@LibertylU.com

-Kevin McNamara (05/29/2015 08:19 AM)

Status |

From: Husmann, John A. [mailto:jhusmann@BatesCarey.com] Sent; Monday, April 20, 2015 6:01 PM
To: Schroder, Mike; Schatz, Stephen; Garcia,| Diego Gc: Fleischer, Adam H.; Spinelli, Dominic Subject!
ACE v. Liberty et al / Weils v. Aslan Counsel: As you all know, ACE has filed a declaratory action against
our clients and the insureds, and has requested a waiver of service. FSIC has agreed to waive service
and | understand that your clients have or willldo so as, Accordingly, cur responses to the complaint
are due June 2, 2015. | spoke to Dan Worker over a week ago and | tock from that conversation that this
complaint is primarily a placeholder and that ACE a to receive (and probably won't oppose) motions
to stay the case. Despite the DJ case, Dan advised th LACE is still willing to contribute its limits toward
settlement as per their email and expects to participate in paying foran appeal bond if one is needed.
Steve has informed me that Zurich is attempting to schedule a mediation with plaintiffs counsel in order
to resolve the underlying matter. FSIC wants fo make sure that we are doing what we can to resolve the
matter before June 2 so that our clients do not have to waste resources litigating ACE's DJ, Steve, can
you please let us know whether a mediator has been selected and what dates have been discussed? |
understand from our conversations that Plaintiff wants a commitment of $15 million before the mediation;

Page 8 | 09/18/2015 09:23 AM

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LIBERTY 000932

 
Case 1:15-cv-00949-SCJ Document 118 Filed 10/31/17 Page 46 of 69

Claim: S5SCAS0C0152481

 

 

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04/01/2010 | Policy Expiration Date 04/01/2011 il Dol: 03/31/2010 | Handler Adam Lippman (LIU Primary Casualty 5)

can you let me know where you are on this issue? Please let us know if there is anything else we can do
to help move this to a resolution. | suggested to some of you that if needed, we may want to ask ACE

to agree to an additional 60 days to answer the complaint, which would push the response due date to
August. ACE expects that some carriers will move to stay, but | do not know why our clients should go to
the expense of appearing and making motions if we gan just get an extension from ACE to give us more
time to resolve the case. Let me know if yourjclients are agreeable to this approach. Regards,

-Thomas Cooper (04/22/2015 12:26 PM) |

 

Page 9 i 09/18/2015 09:23 AM

LIBERTY 000933
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Case 1:15-cv-00949-SCJ Document 118 Filed 10/31/17 Page 47 of 69

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® St Open| i | & Pol DGLSF209149100 | Ins: ASIAN REALTY GROUP, LLC | Cimt: Steve Wells | Policy Effective Date
04/01/2010 | Policy Expiration Date 04/01/2011 | Dol: 05/31/2010 | Handier Adam Lippman (LIU Primary Casualty 5)

 

status bond

ACE will furnish the bond From: Masseri, Miriam {mailto: Miriam, Mosseri@ACEGroup.com]
Sent: Friday, March 20, 2015 8:31 AM To: Cooper, Thomas; todd.hanson@zurichna.com:;
john.deneen@axiscapital.com; Tre_Horton@swissre,com Subject: RE: Wells y. Aslan Commons, LLC,

Page 10 09/18/2015 09:23 AM

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Case 1:15-cv-00949-SCJ Document 118 Filed 10/31/17 Page 48 of 69

Claim, 5SCAS0001524874

 

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B gy. Open | P \ i Pol: DGLSF209149100 | Ins: ASIAN REALTY GROUP, LLC | Clmt Steve Wells | Policy Effective Date

04/01/2010 } Policy Expiration Date 04/01/2011] DoL: 05/31/2010 | Handler Adam Lippman (LIU Primary Casuaity 5)

et al. Tom: Notwithstanding ACE's previous reservations, ACE wilt proceed in procuring the bond.
However, the bond will be secured with each of the insurers' respective limits. In other words, ACE
is not collateralizing the bond only with its limits. ACE continues to stand on its previously-asserted
positions on primary exhaustion-and priority of coverage among the carriers and continues to reserve
iis rights on all coverage issues, as previously set forth. Our counsel has recirculated the proposed
non-waiver reflecting this change. Please confirm agreement. Thanks, Miriam. Miriam Mosseri Claims
Director, Excess Casualty Claims ACE North/American, 10 Exchange Place, 9th floor, Jersey City, NJ
07302 T 201-356-5109 Miriam.Mosseri@acegroup.com | www.acegroup.com From: Cooper, Thomas
{mailto;Thomas.Cooper@LibertylU.com} Sent; Wednesday, March 11, 2015 1118 PM To: Mosseni, Miriam;
todd .hanson@zurichna.com; john.deneen@axiscapital.com: Tre_Harton@swissre.com Subject: RE: Wells
v. Aslan Commons, LLC, etal. ] have objected more than once, on our conference calls and in writing, to
LIU furnishing the bond. Yet that fanguage is still in the agreement. | will not sign the agreement wherein it
says that LIU will furnish the bond. | asked ACE on our last conference call if they would furnish the bond
and ACE said they would consider it. Has ACE made_a decision as to furnishing the bond? Thomas R.
Cooper IV Liberty International Underwriters 55 Water Street, 23rd Floor New York, NY 10041 Phone No.:
(212) 208-4185 Cell No: (646) 704-2980 Fax No.: ep 208-4290 Email: Thomas. Coaper@Liberty|U.com
-Thomas Cooper (03/23/2015 08:39 AM)

|
Status

ACE has tendered its limits to Zurich. The plan is for Zurich to settle this matter. From: Worker, Danny
{mailto:Dan.Worker@lewisbrisbois.com] Sent: Friday, March 20, 2015 4:54 PM To: ‘Schatz, Stephen’;
Husmann, John A.; ‘dgarcia@thompsoncoe.com'; Schroder, Mike Cc: Tre_Horton@swissre.com:
Mosseri, Miriam; ‘todd.hanson@zurichna.com’; ‘John|Deneen@axiscapital.com’; Cooper, Thomas;
‘Waldron, Peter’ Subject: RE: Wells v. Aslan Commons, LLC, et al. Steve My understanding of the
demands made by Zurich was that it wanted fo control of the sattlemert. ACE has tendered its limits

for that purpose. Zurich has sufficient limits to settle ihe claim.. it should act in accordance with the
insured’s best interest in mind. At this point ACE has made its limits available for settlement purposes
and the protection of our mutual insured. Let Us know if the case settles. From: Schatz, Stephen
[mailto:Steve Schatz@swiftcurrie.com] Sent: Friday, March 20, 2015 3:38 PM To: Worker, Danny;
Husmann, John A.; 'dgarcia@thompsoncoe.com’; Schroder, Mike Cc: Tre_Horton@swissre.com; Mosseri,
Miriam; 'todd.hanson@zurichna.com'; ‘John.Deneen@axiscapital.com’: "Thomas.Cooper@LibertylU.com’:
‘Waldron, Peter’ Subject: RE: Wells v. Aslan Commons, LLC, et al. Dan, Thank you for your email. We
have sent to you Zurich’s executed signature page to|the mutual non-waiver agreement via separate
email. Zurich hereby acknowledges ACE's tender of its $10M indemnity limit. Such acknowledament

is made under the same reservation of rights as you expressed in your email, as Zurich expressed in

its letters to ACE dated February 2 and March 12, 2045, and as expressed in the mutual non-waiver
agreement. Such acknowledgment does not constitute an acceptance oy Zurich of a duty to defend the
insureds in the lawsuit, post-judgment motions, and possible appeal and does not relieve Liberty of its

 

Page 11 : 09/18/2015 09:23 AM

| LIBERTY 000935
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Case 1:15-cv-00949-SCJ Document 118 Filed 10/31/17 Page 49 of 69

Claim: SSCAS000152481 |

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04/01/2010 | Policy Expiration Date 04/01/2041 | DoL: 05/31/2010 | Handler Adam Lippman (LIU Primary Casuaity 5)

obligation to continue to defend the insureds. it is Zurich's understanding that ACE is not demanding that
Zurich settle the case for the amount demanded (the total amount of the judgment) in plaintiff's time-limit
demand. Zurich will seek to settle the case in its entirety if possible, giving equal consideration to the

best interests of all carriers’ insureds. Zurich will advise all carriers and the insureds regarding its efforts
to settle the matter. Zurich will request that plaintiff agree to mediate the case without pre-condition and
request that plaintiff allow Zurich to respond to his demand at the mediation, Please let me know if you
have any questions, Thanks, Steve Stephen Schatz 404-888-6133

-Thomas Cooper (03/23/2015 09:36 AM)

ACE tender |

From: Worker, Danny {mailto:Dan. Worker @lewisbrisbois.com] Sent: Thursday, March 19,

2015 2:47 PM To: ‘Schatz, Stephen’; Husmann, John \A.; 'dgarcia@thompsoncoe.com’;

Schroder, Mike Cc: Tre_Horton@swissre.com; Mosseri, Miriam; ‘todd.hanson@zurichna.com’;
‘John.Deneen@axiscapital.com'; Cooper, Thomas; faldron, Peter’ Subject: RE: Wells v. Aslan
Commons, LLC, et al. Dear Steve, Consistent with Zurich’s request below, we made the change to add
paragraph (4) to the non-waiver agreement — Which done, we have a finalized non-waiver agreement.
We have signed the final document, as has counsel for Swiss Re accepting these changes. Please
forward a copy of the agreement signed by yau and your client at your earliest opportunity. Your client,
Todd Hanson, requested on March 12, 2005, jn a letter directed to Miriam Mosseri of ACE that “ACE
tender its $10M indemnity limit” to Zurich for settiement purposes. Previously, each of the primary carriers
have committed their $1M respective liability IImits forisettiernent. At this time, consistent with Zurich's
requesi, ACE tenders its $10M indemnity limit to Zurich to resolve the loss with the understanding that
Zurich will “make every attempt to resolve the! case injits entirety." As you are aware, ACE is tendering
pursuant to the reservation that itis co-excess'with Zurich, and has a right to seek reimbursement for any
settlement under $23M. Consistent with the terms of the agreed upon rion-waiver this tender does not
waive any of ACE's or any of the other carriers’ rights} Please advise when and for how much settlement
is achieved.

-Thomas Cooper (03/19/2015 03:37 PM)

Letter from AXIS

From: Schroder, Mike [mailto:Mike.Schroder@swiftcu tie.com] Sent: Tuesday, March 10, 2015

2:57 PM To: Dan.Worker@lewisbrisbois.com Ce: S tz, Stephen; john.deneen@axiscapital.com:
Cooper, Thomas; Tre_Horton@swissre.com; todd.hanson@zurichna.com; dweollier@worthingse.com;
rrobbins@ robbinsfirm.com; dgarcia@thomps 9ncos.com; jhussman@batescarey.com;
miriam.mosseni@acrgroup.com, Fleischer, Adam H. Subject: Stephen Wells v. Aslan Commons, LLC,
et al. Dear Danny: As we have discussed, this firm represents AX!S Surplus Insurance Company
("AXIS") in connection with the Wells lawsuit. On March 3, 2015, | wrote your client, Miriam Mosseri

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Case 1:15-cv-00949-SCJ Document 118 Filed 10/31/17 Page 50 of 69

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04/01/2010 | Policy Expiration Date 04/01/2011 | DoL, 05/31/2010 | Handler Adem Lippman (LIU Primary Casualty 5)

at ACE North American, to inform her that AXIS was agreeing to tender its $1M policy limit to ACE to
use toward reaching a Settlement with the Plaintiff. In doing so, AXIS reserved Its position that ACE is
responsible for any settlement amount aver the $1M tendered by First Specialty Insurance Company,
and that ACE's limits must be tendered before AXIS can be called upon to contribute to any settlement.
However, because of the potential exposure to our insureds beyond the limits of the available insurance,
AXIS has agreed to tender its limits, reserving its right to seek reimbursement from ACE. The Plaintiffs
settlement demand expires today, yet ACE has made'no effort that I'm aware of to settle the case
with the Plaintiffs attorney. Instead, ACE appears to be unrealistically confident that the appeal on the
punitive damages cap will be defeated, and that the appealable issues in the Georgia Court of Appeals
will result in a substantial reduction of the verdict or even a new trial, Ori behalf af AXIS, | would again
urge ACE to reach out to the Plaintiff's attorney and settle this case today, before the demand expires.
AXIS does not waive any of its rights under the AXIS policy, and AXIS does not intend to waive any of
its coverage defenses. Nor shall AXIS be estopped from asserting any applicable defense. No action
taken by AXIS shall constitute an admission of coverage or be construed as a waiver of the rights of
AXIS under applicable law, the AXIS policy, or any other policy issued by AXIS under which WSE or
Aslan may have or claim rights. AXIS reserves all of its rights under the AXIS policy, and reserves the
right to supplement or amend this communication at any time. Michael H. Schroder Partner Direct:
404-888-6126 Swift, Currie, McGhee & Hiers,| LLP + 1355 Peachtree St. N.E., Suite 300 « Atlanta, Georgia
30309 Fax: 404.888.6199 » www.swiltcurrie.com * Mike.Schroder@swiftcurrie.com + Download my vCard
|___ The Atlanta Journal-Constitution Top Workplaces
Atlanta Business Chronicle's Best Places to Work Follow us on Twitter (@SwiftCurrie) and Like us on

Facebook |
-Thomas Cooper (03/10/2015 05:53 PM)

Claim: 5SCAS000152481

 

Letter from First specialty

From: Husmann, John A. [mailtojhusmann@BatesCarey.com] Sent: Friday, March 06, 2015

7:36 PM To: 'Dan.Worker@lewisbrisbois.com! Cc: Copper, Thomas; ‘dwcollier@worthingse.com’;
‘Peter.Waldron@ACEGroup.com’; Tre_Horton@swissre.com’; 'todd.hanson@zurichna.com’,
"Richard.Robbins@robbinsfirm.com’; ‘John.Deneen@axiscapital.com’, Fleischer, Adam H.,
‘Mike.Schroder@swiftcurrie.com’, ‘Steve.Schatz@swiftcurrie.com’; ‘dgarcia@thompsoncoe.com' Subject:
RE: Wells v. Aslan Commons, LLC, et al. Importance: High Dear Dan: As you know, this firm represents
First Speciaity Insurance Corporation (“FSIC’} in connection with the referenced Wells lawsuit. This is
sent in follow up of our correspondence of February 20, 2015 and March 3, 2015 regarding the Plaintiff's
pending settlement demand of $25,871 ,640.96 in exchange for dismissal of the case against WSE, LLC
(WSE”) and Aslan Commons, LLC (“Asian”) and dropping the Plaintiffs appeal to reverse Georgia's
punitive damages cap. As discussed in detail in our prior correspondence, failure to settle now may
resuit in significant liability to WSE and Aslan beyond |imits of all available insurance. The Plaintiff's
settlement demand expires in four days (March 10, 2015) and we have received no response to either of

 

 

Page 13 09/18/2015 09:23 AM

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Case 1:15-cv-00949-SCJ Document 118 Filed 10/31/17 Page 51 of 69

Claim: 5SCAS000152481

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04/01/2010 | Policy Expiration Date 04/01/2011 || DoL: 05/31/2010 | Handler Adam Lippman (LIU Primary Casualty 5)

our prior letters or Axis’ March 3, 2015 letter. FSIC, Axis, and Liberiy have each tendered their respective
lirnits of insurance in order to settle this case. Therefore, ACE has $3 million available to negotiate a
settlement of the underlying matter on or before March 10, 2015. FSIC continues to believe that ACE

has the responsibility to immediately settle this case in order te avoid increasing its exposure and that

of its insureds by again missing the opportunity to settle. As set forth in our March 3, 2015 letter, if ACE

is convinced that American Guarantee is also|responsible, then ACE must work quickly with American
Guarantee to achieve the setilement of this matter before the March 10, 2015 deadline In order to fund
that portion of the settlement over $3 million, So far, ACE has refused to setile this case, or even inform
the other carriers and ACE's insureds why it should not or cannot settle this matter. If ACE believes that
the case should not be settled at this time, or ACE cainot negotiaie a resolution to fund the settlement
with American Guarantee, please respond to our letters and explain ACE’s position. FSIC does not waive
any ofits rights under the FSIC policy and by virtue of the matters discussed herein, FSIC does not intend
to waive any of its coverage defenses, nor shall FSIC be estopped frem asserting any applicable defense.
No action taken by FSIC shail constitute an admission of coverage or be construed as a waiver of the
rights of FSIC under applicable taw, the FSiC|policy discussed herein, or any other policy issued by FSIC
under which Aslan or WSE may have or claim rights. FSIC reserves ail of its rights under the FSIC policy,
and reserves the night to supplement or amend this email at any time. |

-Thomas Cooper (03/09/2015 10:10 AM) |

|
status |

We made a motion ta dismiss the plaintiff appeal on punitives be the post trial motions need to be heard
first. Plaintiff has filed opposition to our motion. Plaintiff filed for a bond. We filed opposition to the bond.
We requested a hearing when we filed our opposition 'to plaintiff's request for a:-bond. The post trial
motions should stay the need for a bond. Who will furnish the bond and who will pay for appellate costs
has not been resolved between LIU and ACE;

-Thomas Cooper (03/02/2015 11:18 AM) |

Bond status :

|
From: Cooper, Thomas Sent: Friday, February 20, 2015.6:21 PM To: ‘Schatz, Stephen’; Mosseri, Miriam;
Fleischer, Adam H. Gc: Schroder, Mike; Waldron, Peter; ‘todd.hanson@zurichna.com’; Husmann, John
A.; Garcia, Diego; 'Tre_Horton@swissre.com’; ‘Jonn.Deneen@axiscapital.com' Subject: FW: WSE
(Wells) Non-waiver agreement Hello All: LIU objects to the following pravision: WHEREAS, Liberty will
be responsible for arranging for and obtaining the bond, subject to the agreed-upon non-waiver; and As
| have stated, LIU does not have the obligation to furnish the bond. LIU agrees with the remainder of
the provisions in the attached revised non-waiver agreement. Thank you Thomas R. Cooper IV Liberty
International Underwriters 55 Water Street, 23rd Floor New York, NY 10041 Phone No.: (212) 208-4185
Cell No: (646) 704-2980 Fax No.: (212) 208-4290 Email Thomas.Cooper@LibertyIU.com

 

 

Page 14 09/48/2015 09:23 AM

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Case 1:15-cv-00949-SCJ Document 118 Filed 10/31/17 Page 52 of 69

Claim: 5SCAS000152481 & ye % : ; a / ;
St Open]! Pal: DGLSF209149100 { Ins: ASIAN REALTY GROUP, LLC | Cimt: Steve Wells | Policy Effective Date
04/01/2010 | Policy Expiration Date 04/01/2011 | Dol: 09/31/2010 | Handier Adam Lippman (LIU Primary Casualty 5)

-Thomas Cooper (02/24/2015 01:37 PM) |
appellate costs |

From: Cooper, Thomas Sent: Monday, February 23, 2015 10:59 AM To: Mosseri, Miriam Subject: Wells
9420162990 Hello Miriam — LIU will agree to split Mike Frick's appellate costs with ACE and allow Frick
io continue as appellate counsel starting from the time the notice of appeal is filed or from the time when
the trial transcript is ordered. L|U did not consent te pay for Frick as monitoring counsel at the time of
trial. In fact LIU stated that they would not pay for Frick fees at trial, LIU retained Kevin Williams to defend
the insured and Kevin has continued to defend the inSured post-verdict as he filed the motion to dismiss
the appeal, the opposition to the bond and the post-inal motions. LIU will split the fees with ACE when
Frick takes over as the attorney of record for the a opal LIU's position is based on the fact that ACE
had chances to settle or agree to a high-low within their layer which would have eliminated the need for
appellate counsel. Kindly review the proposaf and get back to me. Thanks Thomas R. Cooper IV Liberty
International Underwriters 55 Water Street, 28rd Floor New York, NY 10041 Phone No.: (212) 208-4185
Cell No: (646) 704-2980 Fax No.: (212) 208-4290 Email: Thomas.Cooper@LibertylU.com

-Thomas Cooper (02/24/2015 01:36 PM)

status

We had a 2nd conference call with all the carriers Involved in this case, We filed post trial motions. Plaintiff
filed an appeal as to the punitives. We made a motion to dismis the appeal be the post trial motions need
to be heard first. Plaintiff filed for a bond. We filed opposition to the bond. The. post trial motions should
stay the need for a bond.

-Thomas Cooper (02/24/2015 01:34 PM)

 

 

 

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Case 1:15-cv-00949-SCJ Document 118 Filed 10/31/17 Page 53 of 69

Claim 5SCAS000152481

 

 

 

  
 

Sirategy
| had a conference cail with all the carriers involved in this case. The plan going forward is to get in writing

a stay of execution, filed post trial motions and then miediate the case with Rex smith from henning. we will
contact plaintiff and see if he will agree with this plan. |

-Thomas Cooper (02/10/2015 10:47 AM)

|
conference call :
From: Richard Robbins (mailto:Richard.Robbins@robbinsfirm.com] Sent: Friday, January

23, 2015 9:38 AM To: 'mitick@hallboothsmith.com’; 'sbristol@hallboothsmith.com',
‘dweollier@worthingse.com’, Cooper, Thomas; ‘miriam. mosseri@acegroup.com’;

‘Peter. Waldron@ACEGroup. com"; ‘todd. hanson@zurithna.com’, 'Tre_Horton@swissre.com’; Richard
Rabbins; 'Mike. Schroder@swiftcurrie.com", ‘Steve Schatz@swifteurrie.com’, ‘jcahill@aslanrg,com';
‘kwilliams@wwhgd.com', ‘tschermerhom@wwhgd.com': ‘valsabrook@wwhgd.cam' Subject: WSE/Wells
Importance: High As outside litigation counsel for WSE, LLC, | wanted to thank you ail for participating in
the conference call this week, We and our client found it productive, and we trust the insurers will work
together cooperatively and expeditiously to avoid further damage to WSE, their mutual insured. To follow
up on the call, we want to emphasize the following: 1. We appreciated the assurances by Miriam Mosseri,
ACE's representative, that a $25 miltion bond}will be posted if and when needed, which could be as early
as 10-20 days. A bond is absoiutely essentialito the financial well-being of WSE! WSE and its affiliates
already are facing tough questions from investors, lenders and partners concerning their viability in light
of the judgment, and have already suffered business damage. We need written assurances on or before
Friday, January 30, 2015, that the insurers will furnish and post such a Lond, if and when necessary, and
be prepared to do so prior to the time any collection actions are authorized under Georgia law (which is
10 days following entry of a final judgment). Again, the date a bond may have to’ be posted is subject to
change by court order or agreement, but the insurers must be prepared to act by the earliest possible
date. WSE and affiliates are finding it difficult to give any assurances to their business partners without
such confirmation, 2. We understand the insurers intend to discuss among themselves how they will
participate in a bond. We aslo understand that the nature of a surety bond being posted in favor of the
plaintiff may require the insurers to have some level of agreement regarding the ultimate repayment of
the bond obligation; however, we want to make it seat that any cisagreement among the insurers as to
their respective responsibilities at this stage must not stand in the way of a bond being posted. It would
obviously create serious legal exposure to all of the insurers to WSE if, cue to the insurers’ disagreement,

 

 

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Page 16 : 09/18/2015 09:23 AM

CONFIDENTIAL

LIBERTY 000940
Case 1:15-cv-00949-SCJ Document 118 Filed 10/31/17 Page 54 of 69

Claim: 5SCAS000152481

 

no bond is posted and as a result the insured is forced into bankruptcy and/or liquidation. This would be

in addition to the insurers’ current exposure on the judgment. 3. As to settlement, we understand there
remains a settlement demand within the collective policy limits. The latest settlement offer was $18.9
million, and the collective policy limits, according to our calculations, are $34 million. Thus, all insurers
have a duty to settle within policy limits, and we hereby demand that the insurers collectively settle

within policy limits at the earliest possible opportunity. 4. The current settlement offer may not remain on
the table iong, depending on the amount of the judgment the Court enters next week. While the Court
indicated earlier it was inclined to write down the punitive damages awerd, all of us who are litigators
understand that a court can and often does change i its| mind. If the Court were to allow the $73 million
verdict to stand at this point, the plaintiff would almost/certainly take the current offer off the table. While
we have great respect for insurance defense counsel here, the fact is that no one can be sure how the
Court will rule on any judgment and ultimately jon any post-trial motions, or how the Court of Appeals

will ultimately rule. It is very risky, in our opinion, to let this “play out,” as someone commented on the
phone call. If the insurers decide to play poker and not settle now, and assuming a verdict in excess of
collective policy limits was upheld on appeal, WWSE obviously would expect the insurers to be responsible
for the full amount of the ultimate judgment. WSE’s intent is to continue to support the insurers’ efforts
before the Court and ultimately on appeal, butiat the same it must insist on its rights under the insurance
policies and under Georgia law. Our position, as expressed in my {etter to the insurers prior to trial. and in
subsequent emails during the trial, is that the gase shauld have been settled earlier, but that was then and
this is now. There is ample time in the future to second-guess, but not ample time to bring closure to this
lawsuit. The insurers are faced with a new financial re lity due to the verdict, and still have an obligation to
settle within policy limits. Any disagreement on which insurer has to pay what is secondary to the primary
issue, which is to settle the case. All the insurers are sophisticated and surely have procedures in place
for resolving participation disagreements amiong themselves without delaying a favorable settlement
opportunity. Please confirm the availability of a bond not later than next week, and please keep us posted
on settlement efforts. Richard L. Robbins ROBBINS ?/ROSS ? ALLOY ? BELINFANTE ? LITTLEFIELD
LLC 999 Peachtree Street, N.E. Suite 1120 Atlanta, GA 30309 678.701.9320 (Direct) 678.701.9381 (Main)
404.856.3250 (Fax) www. robbinsfirm. com |

-Thomas Cooper (01/28/2015 04:24 PM) | |

 

 

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Page 17 | 09/18/2015 09:23 AM
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CONFIDENTIAL
Case 1:15-cv-00949-SCJ Document 118 Filed 10/31/17 Page 55 of 69

Claim: SSCAS000152481

 

 

Day 3 Trial Report

Jan. 14, 2015 Johnny Orr Was the first of four of Defendant's employees called for cross-examination by
Plaintiffs counsel. The parties had agreed at'the Pretrial Conference that any of Defendant's employees
called by Plaintiff during his case in chief could then be examined by the defense without the necessity
of recalling that witness during Defendant's case in chief, Johnny Orr was the maintenance technician

on call over the Memorial Day week-end, He testified that he received a work order for air conditioning
repairs to Unit 1703, and he knew that Stephen Wells was going to relccate into that unit on June 1. The
policy was to perform the repair within 24 hours of receipt of the emergency repair order, but since the
tenant was not moving in until June 1, he opted to perform the air conditioning repair when he could as
long as it was before June 1. Orr checked out a key to that apartment an May 29.and apparently took it
home with him in violation of company policy! He denied ever going into Unit 1703 prior to the explosion
on May 31. At around noon on May 31, Johnny Orr was in his car when he received a call from another
tenant, advising that there was a strong odor/of gas coming from the unit below her. Orr told her to call
Atlanta Gas, and that he was on his way. When he arrived at the apartment complex the explosion had
already occurred. He spoke with the Fire Inspector and told her he had not been in the unit. He was
questioned abaut his knowledge of the repaif parts for the hot water heater that were found in the unit
by the fire inspector, and if he had taken them from the unit after the fire occurred, and he denied that he
had done so. He denied that the maintenance staff was overworked and understaffed, He acknowledged
that the maintenance personnel were not trained about code requirements for gas dryer lines. He stated
that at least 2-or 3 times per month he received calls about gas leaks, and usually found that a pilot light
had gone out, or a stove had been left on. On examination by defense counsel, Mr. Orr reiterated that
he did not have any reason whatsoever to tufn the gas dryer line.on, as his only assigned task in that
unit was to work on the HVAC. Daniel Surovets Was ithe maintenance supervisor at Edgewater, but was
at home on vacation when the explosion occlirred, He denied having any knowledge that some of the
units had gas dryer lines, much iess that they were uncapped. He was unaware of fire code requirements
and does not believe any of his maintenance! men were either. He ackriowedged that he and his men
had received no training from Corporate in that regard. He denied that nis men were overworked or that
the complex was understaffed. He identified @ water ine coupling that was seen on photos taken by the
fire inspector, and does not know who had been working on the hot water heater, or when. He denied
knowledge of any evidence being taken from the apartment after the fire inspector left. He was questioned
at length by Plaintiffs counsel about the lackiof sorerpntatin between management and maintenance,
at least in regard to gas dryer lines. Surovets said that Johnny Orr called him right after the explosion

 

LIBERTY 000942

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Page 18 | 09/18/2015 09:23 AM
CONFIDENTIAL
Case 1:15-cv-00949-SCJ Document 118 Filed 10/31/17 Page 56 of 69

Claim: SSCAS0001 52481

 

and told him that Johnny had been working om anothey apartment at the time, and that he had actually
been planning to effectuate the repairs to Well's HVAC next, (this {s, of course, in contradiction to Orrs
testimony that he was off premises in his car when he! was called about the gas smell), Surovets said
that if Wells testified that he saw a maintenanoe man going into his unit on the morning of May 31, then
it most likely would have been Orr. (Interestingly, however, during Orr's testimony it was obvious that Orr
did not fit the description of the maintenance man, as given by Plaintiff), Carl Walton Was the Leasing
Liaison at Edgewater, and knew that Wells was moving from one apartment to another on June 1. When
Wells asked if he could have a key to the new apartment over Memorial Day weekend, Walton said it wes
alright, since he was In the business of keeping the tenants happy. Walton knew this was against policy,
but felt it was alright to help out Wells, whom he described as a good tenant. Walton also testified that
Wells called him on Saturday and told him that his hot water heater wasn't working, This is in contrast to
Wells, who had testifled that he remembered telling Walton about the HVAC, but not the hot water heater.
Orr testified that he only knew of an HVAC problem. Oleg Tanovitchi Was one of the maintenance techs at
Edgewater. He testified that he was not aware that there were any gas dryer lines at the apartments, and
had never recelved any training about capping them. He never saw reference to the gas dryer lines in the
punchlist until it was added. after this incident,|Ms. oa Ann Saenz Has been the designated company
representative for the trial, and has sat’at counsel table throughaut. In May 2010 she was the Assistant
Manager/Community Director for Edgewater. She was questioned abou her knowledge of the policies
and procedures, including the ones for work arders, key control, etc. She was actually a very favorable
witness, in that she testified that her husband/is a maintenance supervisor and that he commented about
the presence of a gas dryer line in their apartment, but made no comment about it being uncapped. Alena
Drvostepova Was an EMT who worked for Rural Metro Ambulance and was answering a call nearby when
the call came out about the explosion. She was only a block away, and arrived in time fo see Stephen
Wells running into the complex yard, and sitting down: He had been flash-burned, and his hair, eyebrows
and lashes were singed. She went to him and! observed his mouth and tongue and then help him walk te
the ambulance for transport to the hospital. Wells told her that he "tried to light 4 hot water heater’. She
testified she didn't know when he tried to lightiit, but that was what he valunteered to her, while otherwise
seeming to be in some shock. Dr. Walter Ingram Ils the Medical Director at Grady who treated Wells for
his bums, and did the skin grafting from his midriff. H | testified via video deposition that Wells sustained
burns over 22% of his body. He described the hydrotherapy and debridement procedures, and described
his care during the two-week stay at Grady i May 31 through June 14, 2010; After discharge from
Grady, Dr. Ingram followed Wells at the Grady burn clinic. He has been very pleased with Welis' recovery,
but warns that too much sun can damage His skin further. He acknowledged that fear and anxiety are
common among fire victims, but also acknowledged that Wells suffered from depression prior to this fire,
Ms. Jeannie Dollar Is a Voice Therapist and Speech Pathologist who began treating Wells on June 17,
2010, She diagnosed him as "aphonio”, meaning he cepuld not speak. She placed him on 100% voice
rest for a week, and then for a second week. She saw him over the next weeks, and on August 9, 2010
released him for follow-up as needed, although he still had significant issues with his raspy voice, and
being unable to speak full sentences in one breath. She then saw him again on October 12, 2013, and

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} 09/18/2015 09:23 AM

 

Page 19 |
| LIBERTY 000943
CONFIDENTIAL

 
Case 1:15-cv-00949-SCJ Document 118 Filed 10/31/17 Page 57 of 69

Claim: 5SCAS000152481

 

was surprised that he was actually worse than when she had seen him 3 years before, She believes the
scarting has matured and caused him speech difficulties which would riake talking to a class of students
a rather challenging event. She stated that he is at high risk for the development of voice nodules or
palyps, which would require up to another six|months of complete voice rest, Once again the jury was
very attentive and is not overtly friendly to either side/ They seem to get along well with each other which
may lead to minimal combat during deliberation. Today's testimony further solidified the likelihood of a
significant verdict for the Plaintiff in that the majority of the testimony focused on the lack of training of
the maintenance personnel In regard to gas dryer linés and general policies and procedures. Defense
counsel have made points where possible in attempting to show that there is 4 significant possibility that
Plaintiff Stephen Wells, in fact, tumed the oad valve on shortly before leaving the unit on Monday morning.
The Atlanta Gas Light meter flow records show that the gas was turned on at 9:22 'am and remained on
until the expfosion shortly after noon. Defense counsel made the point that it was not until almost 3 years
after the explosion that Plaintiff first mentioned that a maintenance person was entering his unit as he
was leaving it on the morning of the explosion. The description of the maintenance man which he gave
does not match the appearance of employee; Johnny Or, who denies having been in the apartment and
working on the gas line prior to the explosion; |

-Michele Simpson (01/15/2015 03:24 PM) | |

Plaintiff new High/Low proposal

Plaintiff made a high/low proposal to excess garrier ACE of $3M/$11M. We have told counsel/ACE that
while our our $1M limit is available for settlement purposes, we will only agree to a low of $500K.
-Michele Simpson (01/15/2015 01:00 PM)

Day 2 Trial report i

> Opening Statements: > > Plaintiff counsels} opening statement lasted more than:an hour. He outlined
the obvious - the gas line was uncapped. He pointed out the hopeless inconsistencies with the employees
of Edgewater regarding the maintenance of the gas appliances, and addressed inconsistencies with the
date Plaintiff received the keys to 1703 and the work order for the HVAC system. He also spent time
explaining Plaintiffs trauma, damages and depression. > > The Defense opening pointed out that there
was some evidence that Plaintiff tried to light the pilot light, and that the mystery maintenance man did
not appear until late in the case. The jury was urged fo consider all of the evidence before formulating an
opinion regardless of how compelling Plaintiffs case night be. > > > Stephen Wells Testimony: > > Mr.
Wells was a very effective witness. His over all demeanor was that of a man older than his age who is
beat down and terribly suffering on the inside. He was calm and soft spoken with a shaky, raspy voice.
When asked to show his scars to the jury, he did so modestly and stated that és a result of the burns,

his "skin is too fight." > > Mr. Wells did a good job of explaining his injuries, treatment and rehabilitation.
Although he did not waive his mental health privilege, his personal beliaf and explanation that his anxiety

 

Page 20 | 09/18/2015 09:23 AM

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| LIBERTY 000944
CONFIDENTIAL
Case 1:15-cv-00949-SCJ Document 118 Filed 10/31/17 Page 58 of 69

Claim: 5SCAS000152481

 

and fear is a result of the explosion seemed believable to the jury. > > The cross examination of Mr. Wells
focused on pointing out that Plaintiff stated that he did in fact attempt to light the pilot light. He also had
Plaintiff describe the maintenance man he claimed intered his apartment on the day of the explosion,
and had the Plaintiff admit that the maintenance man was not mentioned until his deposition testimony. >
> Alberto Reyes Testimony: > > Mr. Reyes was a resident above Mr. Wells at the time of the explosion.
His testimony consisted solely of his account of the events on the day of the explosion. > > Cheryl Walls
Testimony: > > Chery! Walls, the Sandy Springs Fire investigator, confirmed the NFPA code violation for
the uncapped gas line and for the vaive to ba in a room other than where the end of the gas line was. She
also explained that a specific tool was required to open the gas valve, and that this fool was not found

in Mr. Well's apartment during the investigation. > > > During cross examination, Ms. Walls agreed ihat
tegardiess of the uncapped gas line, the explosion would not have occurred if the gas was not tured

an. > > > The Jury: > > After listening to testimony and watching the § minute clip from the Day in the

Life Video, the jury seems very receptive to paree oe ng the video. most of the women jurors had
looks of sorrow, pity and nausea. The men seemed Somewhat bewildered. Following the video, Plaintiff
showed the jury the scars on his arms and legs, All jurors stood and spent time looking and listening to
his description of the scars and the pain endured. hen explaining that his “skin Is too tight", many jurors
looked as though this was a profound statement and genuinely seemed sad for Plaintiff. > > Sent from my
iPhone The information contained in this message may contain privileged client confidential information. If
you have received this message in error, pldase delete it and any copies immediately.

-Thomas Cooper (01/13/2015 11:28 PM)

 

| |
Jury selection | | |
We picked a jury yesterday on 1/12/15. The jury is comprised of the following: 1 African American Female |
4 African American Males 6 White Females 4 White Male 1 Hispanic Female Of the same, 10 have
experience with lighting pilot lights, 3 have known someone who has suffered burns and 1 had an issue
with the video. The juror who had an issue with the py in the Life" video is concerning, but stated that
she could be fair and impartial. The occupations of the jurors are: mechanic, truck driver, musician, sales,
marketing, manager, insurance clerical, CPA, Legal IT, self employed and unemployed, It is worth noting
that one juror is an intem at the Grady Trauma Center. 12 potential jurors were released for cause. Out of
the same, 6 were unable to be fair and impartial due to the “Day in the Life" video. Trial will begin today on
tuesday 1/13/15.

-Thomas Cooper (01/13/2015 10:17 AM)

Limits |
We made our fimits. available on sunday Jan 11, 2015 From: Darin Collier
<dweollier@worthingse.coms<mailto:dwcollier@worthingse.com>> Date: January 11, 2015 at 4:48:15

PM EST To: “Williams, Kevin" <kwilliams@wwhgd .comemaiite:kwilliams@wwhgd.com>> Subject: RE:

 

Page 21 | 08/18/2015 09:23 AM

LIBERTY 000945
CONFIDENTIAL
Case 1:15-cv-00949-SCJ Document 118 Filed 10/31/17 Page 59 of 69

Claim: 5SCAS000152481

 

Wells No reason to discuss ... keep me ed on dss if anything, you want me to do tomorrow,

From: Williams, Kevin [mailto:kwilllams@ww ad.com] Sent: Sunday, January 11,2015 3:09 PM To:

Darin Collier Subject: Wells Just tried your cell. | was just advised that liberty is making their limits
available to ACE for any settlernent discussions. They also indicated they would authorize 500 k on any
low if folks want to discuss a high - low. | called counsel for ACE , mike Frick || and informed him and

sent him an email. My cell is 404-579-9303 if you want to discuss. Thanks. Y. Kevin Williams Attorney
WEINBERG WHEELER HUDGINS GUNN & DIAL 3344 Peachtree Road NE Suite 2400 Atlanta, GA
30326 404-832-9542 phone 404-875-9433 VCARDshttp:/Avww.wwhgd.com\veard-71 Nefshttp://
www.wwhgd.comVvcard-71 .vef=> www.wwhgd.comshttp:/www.wwhad.com> <<hitp:/www.wwhgd.com>>
The information contained in this message may contain privileged client confidential information.

If you have received this message in error, please delete it and any copies immediately, Begin

forwarded message: From: <kwilliams@ww -comemailto:kwilllams@wwhgd.com>> Date: January

14, 2015 at 3:02:21 PM EST To: “mfrick@h liboothsmith.com<mailto:mfrick@hallboothsmith.com>"
<mfrick@hallboothsmith.coms<maiito:mfric hallboothsmith.com>> Subject: Wells This will confirm liberty
is making its limits available for any settlement discussions. If anyone wants to still discuss a high - jow
they are offering 500 k on the low. The information contained in this message may contain privileged
client confidential information. If you have re¢eived this message in error, please delete it and any copies
immediately. |

-Thomas Cooper (01/13/2015 10:13 AM)

Motions in Limine

From: Byrd, Chris {mailto:CByrd@wwhad.com] Sent: Monday, January 12, 2015 7:18 AM To: Simpson,
Michele Cc: Williams, Kevin; Schermerhom, U. Tyler; Alsabrook, Vickie; Coopar, Thomas Subject:

Re: Stephen D. Wells v. Aslan Commons, LUC and WSE, LLC Miriam: On Friday, we had a lengthy
hearing to discuss motions in limine. Below, | outline the more relevant/critical decisions: 1. The fact

that over 50 other apartments were found (after the explosion) to have dryer lines with no caps (and
were subsequently capped) will come in. Such evidence goes to notice, existence of a defect and there
is law that states that, where a state agency requires an action, such an action is not excludable as a
subsequent remedial measure. 2. Plaintiffs attempted to exclude the EMT statement that Wells told her “i
tried to light the water heater” on hearsay grounds. That statement will come in as recorded recollection.
3. We argued that the court should not permit Pieintiffs counsel to argue that Bpportionment toe Wells

will reduce the amount of any award he receives. Th judge ruled against us, noting that he typically
informs the jury of the effect of apportionment. Plain iffs lawyer will be free to argue that that every
percentage point of fault assigned to his client reduces the award (1 would expect the argument to be
phrased as “apportioning fault to Plaintiff giv defendants @ 'discount”) and he will be able to also stress
that assigning 50% to Plaintiff would result in no recovery at all. 4. Jeannie Dollar’s testimony (the voice

therapist) will be allowed. Thus, the jury will hear that Wells has a permanent voice deficit. Along those

same lines, Plaintiff will be able to inform the.ju that he has erectile dysfunction and that he suffers from
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Page 22 09/18/2015 08:23 AM

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| | LIBERTY 000946
CONFIDENTIAL
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Case 1:15-cv-00949-SCJ Document 118 Filed 10/31/17 Page 60 of 69

Claim: 5SCAS000152481

 

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PTSD/depression. He will not, however, be able to ode as to any doctor's diagndgsis. We, in turn, can
bring up the fact that he has been diagnosed with PT$D/depression in the past, Also, we will be able to
point out that Well's ED is caused by Perrone!s disease. 5. As for Plaintiff's claims of permanent disability/
injury, Plaintiffs lawyer informed the court that he has no intent to argue that Wells will be unable to work
at the pre-explosion level for the rest of his life. Rather, he will say that Wells cannot now work at that
level and he does nat know when or if he will be able to return. Plaintiffs lawyer said he does not intend
te “blackboard” a lost income number. He is going to leave it up to the jury. 6. Plaintiff attempted to keep
us from arguing that Wells turned on his own gas. That motion was denied. Of course, there were other
matters discussed, but these are the most notable. Tijal begins today. Please /et me know if you have any
questions. Sent from my iPhone Christopher T. Byrd Attorney WEINBERG WHEELER HUDGINS GUNN
& DIAL 3344 Peachtree Road NE Suite 2400 tianta,| GA 30326 404-832-9546 phone 404-875-9433 fax
VCARD <http //www.wwhqgd.com\vcard-9.vci> www.wwhad.com <<http:/Avww.wwhgd.com>>
-Thomas Cooper (01/12/2015 12:03 PM)

Authority |
| I '
Tom has been given the OK to make our limit available to the excess carrier pending correspondence

$500,000 as the low. |

-Kevin McNamara (01/08/2015 03:24 PM)
status | |
Plaintiffs counsel has countered with $800K -!S$8M. We had a conference call with excess to discuss our
next offer. Excess is going to get authority up|to $2.50 for a high.
-Thomas Cooper (12/30/2014 04:14 PM)
|

Updated Legal Budget | |

Obtained updated legal budget through trial -lincreasing expense reserves as follows: Defense - $150,000
(covers approx $50K with CLBU & up to $100K for trial prep/trial) Allocated LAE - $25,000 - Witness fees/
travel costs, litigation support/repro/exhibits, etc

-Michele Simpson (12/19/2014 01:50 PM) |
Status |
We will offer a high-low offer of $250k and $1.2M.

-Thomas Cooper (12/09/2014 02:17 PM)

 

09/18/2015 09:23 AM
LIBERTY 000947

Page 23 |

CONFIDENTIAL
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Case 1:15-cv-00949-SCJ Document 118 Filed 10/31/17 Page 61 of 69

Claim: 5SCAS000152481

 

Status |

From: Cooper, Thomas Sent: Monday, December 08 2014 11:48 AM To: mitick@hallboothsmith.com
Subject: RE: wells Hello Michael — My understanding i is that you are monitoring counsel for the excess
carrier- ACE. It appears that the Pete Law is interested i in a high-low with the low in my layer and a high in
the excess layer. Is ACE interested in negotiating a high-low as to cap exposure. Please have the adjuster
contact me. Thanks Thomas R. Cooper IV Liberty Intemational Underwriters 55 Water Street, 18th Floor
New York, NY 10041 Phone No.: (212) 208-4185 Bla¢kberry No: (646) 704-2980 Fax No.: (212) 208-4290
Email; Thomas.Cooper@Liberty!U.com
-Thomas Cooper (12/08/2014 11:48 AM)

New trial date
Case has been moved to 1/12/15. We hada gonfererice with the court and plaintiffsaid they had 21
witnesses---since we had a 2 day case in front of us the court continued the case. .

-Thomas Cooper (12/05/2014 10:31 AM)

Negotiation Status
Plaintiff proposed a bracket of $1M-$33M. LIU offered a bracket of 400/900 in response. Plaintiff counsel
Pete law responded with a high/low proposal of 900k/8 mil.

-Thomas Cooper (12/04/2014 04:33 PM)

 

 

|
PROCESSED INVOICE TO VENDOR |

$970.00 |

-Louis Conci (07/18/2013 02:35 PM) |

PROCESSED INVOICES

PROCESSED INVOICES from wheeler reporting for $685. 90 and tiffany alley for $628.76.
-Louis Conci (07/18/2013 11:37 AM)

 

 

Page 24 | 09/18/2015 09:23 AM

LIBERTY 000948
CONFIDENTIAL

 
Case 1:15-cv-00949-SCJ Document 118 Filed 10/31/17 Page 62 of 69

Claim: 5SCAS000152487

 

 

LLR Approved |
LLR Approved - $600,000 indemnity |
-Neal Magnus (05/15/2013 04:54 PM) |

CLBU Note

| have approved the attendance of (2) attomeys for Document Review - counsel advises that the insured
apartment complex had (3) rooms full of extra large bankers boxes full of old documents including
maintenance records which needed to be reviewed by counsel in order to both comply with plaintiffs
notice to produce as well as attempt to locate/inspection records maintained by the prior management
company.

-Michele Simpson (04/22/2013 01:31 PM)

   

 

 

Retention of Counsel | |

Authority has been obtained to retain panel attomey Kevin Williams of Weinberg Wheeler to defend both
the named insured & real estate property manager. Kevin & | discussed the case briefly on 5/7/12, the
case has cleared conflicts and he will arranges for answers to be filed. ! have provided his associate Chris
Byrd with contact Info for both Aslan & WSE, We will discuss further as to whether there is any merit to
impleading the gas company. Campleting RMS referral & establishing a $25,000 defense reserve, which
will be re-evaluated upon receipt of counsel's ICA & budget.

-Michele Simpson (05/08/2012 04:58 PM)

Named Insured Endorsement |
|

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CONFIDENTIAL
Case 1:15-cv-00949-SCJ Document 118 Filed 10/31/17 Page 63 of 69

Claim: 5SCAS000152481

 

|
| have now obtained an updated Named Insured Endiraersent (#19) which has been amended to include
Asian Commons LLC. As per my prior coverage analysis, | am requesting authority to retain Kevin
Williams of Weinberg Wheeler Hudgins in Atlanta GAjto defend both the named insured Asian and
property manager WSE LLC. |

-Michele Simpson (05/07/2012 11:45 AM)
Coverage Analysis

Carrier: LSIC Policy: DGLSF209149100 Effestive: 4/1/10 - 4/1/11 Loss Date: 5/31/40 Section || - Who

is An Insured 2.b. - Any person or any organization while acting as your real estate manager. Endt 18

- Designated Premises - includes loss locatioh of 7600 Roswell Road, Atianta GA Endt 3- Additional
insured - Managers or Lassor of Premises Triggered by written contract signed by both parties prior to
any “occurrence” Endt 21 - Primary Insurance Clause Affords primary and noncontributory Al coverage
as required by written contract i | have written to
underwriter Allen Hansen, as well as the retail broker, as | could not locate the entity Aslan Commons
LLC among the list of Named Insureds under|the policy, and have inquired as to whether this entity may
have been added per endorsement. If it is confirmed that Aslan Commons LLC is a named insured under
the policy, then itis my conclusion that real estate manager WSE LLC would be entitled to coverage and
defense as an insured by definition. However, Worthing Holdings LLG dba the Worthing Companies would
not be entitled to coverage or defense as ihey are not a party to the management agreement.

-Michele Simpson (05/06/2012 09:39 PM} |

i
Suit Filed | |
Suit has now been filed on behalf of tenant Stephen Wells who is alleging burn injuries as a result
of the explosion. Named defendants are Aslah Covretons LLC, WSE LLC, andi Worthing Holdings
LLC dba The Worthing Companies. The complaint mtains allegations of negligent maintenance of
premises, negligent hiring and training of maintenance staff, failure to warm, negligent inspection, etc.
The complaint also seeks punitive damages. Directly assessed punitive damages are insurable in
Georgia. See Greenwood Cemetery v. Travelers iIndém. Co., 232 S.E.2d 910 (Ga. 1977); Federal Ins.
Co. v. Nat'l Distributing Co., Inc., 417 S.E.2d 671 (Ga. Ct. App. 1992), Vicariously assessed punitive
damages would likely be insurable in Georgia eee directly assessed punitive damages are insurable.
| have obtained and reviewed the management
agreement between Asian & WSE LLC as follows: - effective 1/1/09 for 1 year; renewed for successive
1 year terms unless terminated by either party. - Article 8.03 - Insurance - owner is required to name the
manager as an additional insured & owner's insurance is to be primary & non-contributory.
-Michele Simpson (05/06/2012 09:23 PM) |

 

CMS Converted Document - Status Updates by Michele Simpson

 

Page 26 09/18/2015 09:23 AM

LIBERTY 000950
CONFIDENTIAL |
Case 1:15-cv-00949-SCJ Document 118 Filed 10/31/17 Page 64 of 69

Claim: 5SCAS000152481

 

|
Progressive has filed inter-company arbitratian through Arbitration Forums. | have responded that Liberty
Surplus is not a member of this forum, that this forum has no binding jurisdiction over LSIC and requested
immediate withdrawal,
-Super User (08/17/2011 09:57 PM)
|
CMS Converted Document - Status Updates by Michele Simpson

Progressive has not supplied any additional documentation, or otherwise responded to my 10/19/10
correspondence. | am sending another follow up letter advising we cannot consider their claim without
proof of liability.

-Super User (12/28/2010 11:57 AM)

 

CMS Converted Document - Case Facts by Michele Simpson

Fire occurred in apartment complex owned by the ingured, The cause of the fire was believed to have
been a2 build-up of gas from an open dryer valve/connection however, there is.no proof as to who opened
the valve (tenant v. maintenance staff).

-Super User (12/28/2010 11:54 AM)

Initial acknowledgement letter addressed to Vaness Ayres sent on 6/4/10
-Super User (06/04/2010 11:30 AM) /

 

CMS Converted Document - Status Updates! by ae Flores
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09/18/2015 09:23 AM

Page 27 |
| LIBERTY 000951

 

CONFIDENTIAL

 

 
Case 1:15-cv-00949-SCJ Document 118 Filed 10/31/17

Simpson, Michele

From:
Sent:
To:

ca
Subject:

Cooper, Thomas

Thursday, January 15, 2015 12:05 PM
kwilliams@wwhgd,.com

Simpson, Michele

Wells

Page 65 of 69

Kevin- you have authority only to 500k on the high-low. You have The Im for settlement purposes only.

Contact me or Michele if you have a new offer on the high-low and we will consider it,

Michele's contact info is below. I will be back in NYC at 2pm.

Michelé M. Simpson, CPCU
Michele M. Simpson, CPCU
Assistant Vice President

US Casualty Claims

‘Liberty Intemational Underwriters

55 Water Street, 23rd Floor
New York, NY 10041
(2.12).208.9578

(212) 208-4290

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LIBERTY 001416
Case 1:15-cv-00949-SCJ Document 118 Filed 10/31/17 Page 66 of 69

From: Darin Collier{dwcollier@worthingse.com]

Sent: 19 January 2015 09:50:50

To: Mosseri, Miriam

Ce: Richard L. Robbins (Richard.Robbins@robbinsfirm.com)

Subject: RE: Stephen D. Wells v. Aslan Commons, LLC, et al./Clatm No.: 5SCAS00152481

Attachments: doc094350201501 19090314.pdf, Richard Robbins.vcf

Miriam —

Thanks for the mobile number; I've attached my full v-card for you which includes my mobile number as
well.

As | predicted at the conciusion of last week's trial, the verdict has hit the media:

http:/Avww.dailyreportoniine.cormvid=12027 1 5405863/Fulton-Jury-Awards-73M-to-Man-Bumed-in-Explosio
n-VIDEO-?slretum=201 50019085435

<http://www.dailyreportonline.com/id=12027 15405663/F ulton-Jury-Awards-73M-to-Man-Bumed-in-Explos
lon-VIDEO-?slreturn=20150019085435>

http:/Avww.ajc.com/news/news/report-jury-awards-73m-to-man-bumed-in-gas-line-e/njqPk/
<http:/www.ajc,convnews/news/report-jury-awards-73m-to-man-bumed-in-gas-line-e/njqPk/> (Also,
see the attached from Sunday's Atlanta Journal Constitution)

http://olog.cvn.com/65.8-million-award-to-man-bumed-in-apartment-gas-line-explosion
<http://blog.cvn.com/65.8-million-award-to-man-bumed-in-apartment-gas-line-explosion>

After the Daily Report, the Southeast's chief legal newspaper, ran with the story, | received several calls
from attomey acquaintances — and they all asked the same question: if you weren't going to put ona
defense, then why did you try such a case?

Midam, that question is going to be on the table before us for some time.

You know my position was that the plaintiff's settlement demands, which at all times were within policy
linvits, were reasonable in light of the evidence. In addition, it was clear to ma, and expressed by me to
everyone involved on our side, that the defensive strategy of pointing the finger at the plaintiff in hope of
achieving some level of contribution had limited upside and tremendous downside in the form of inflaming
a jury which would assuredly be disturbed by the nature and extent of the plaintiffs bum wounds. That
predictable outcome unfortunately. became reality. What wasn’t predictable, though, was defense
counsel's in-the-moment decision to not even put on a case at trial... which, again, underscores the
question: why was the matter being tried in the first place?

CH 0279
Case 1:15-cv-00949-SCJ Document 118 Filed 10/31/17 Page 67 of 69

Again, | urge you to timely pursue all efforts to settle this matter immediately, which we now expect will be
beyond policy limits. | understand that you have a different case to value at this time, and that you may be
waiting on outside opinion of the case’s appeal merits to measure your leverage against the plaintiff.

You should know, however, that news of this outcome has already begun to cause us reputational
damage as feared. The longer this matter drags on without resolution, the more damage WSE will suffer
by the failure to settle prior to, our during, tral.

| have a strong sense of urgency about this situation, which is understandable. This Is not just an
“appeal to gain leverage moment” in our work week; it is an easy-to-catastrophize situation which is
weighing heavily on us. We must ensure that the judge writes down the jury's punitive damage award to
the statutory cap with the entry of the judgment, which may occur as early as today, and we must ensure
that the plaintiff cannot lien our assets after the judgment is entered. {tis imperative that we have a
Status call as soon as possible so that | can understand ACE's strategy as to these matters and the
appeal (as well as questions regarding counsel).

In order to fully represent our interests going forward, we have retained Richard Robbins. Richard is an
extraordinarily gifted and accomplished trial and appellate attomey, and my hope is that you will consider
his counsel where our interests are aligned. We will look to ACE to pay Richard's fegal fees and
expenses In representing us. Richard's v-card is attached. Please copy him on all future
correspondence

OoWwc

From: Masseri, Miriam (maiito:Miriam.Mosseri@ACEGroup.com]

Sent: Saturday, January 17, 2015 10:11 PM

To: Darin Collier

Subject: RE: Stephen D. Wells v. Aslan Commons, LLC, et al./Claim No.; 5SCAS00152481

Darin — here is my cell number: 347-244-0997,

| will call you next week to discuss strategy going forward. | am out of the office until Wednesday but feel
free to call me on my cell if you need to reach me before then.

Regards,

Miriam

CH 0280
Case 1:15-cv-00949-SCJ Document 118 Filed 10/31/17 Page 68 of 69

CERTIFICATE OF SERVICE

I hereby certify that on October 31“, 2017, I electronically filed the

foregoing Notice of Filing with the Clerk of Court using the CM/ECF system,

which will automatically send notification of such filing to counsel of record as

follows:

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Case 1:15-cv-00949-SCJ Document 118 Filed 10/31/17 Page 69 of 69

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